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             6

             7

             8                                       UNITED STATES DISTRICT COURT
             9                                    NORTHERN DISTRICT OF CALIFORNIA
            10

            11

            12    BARBARA JELIN,                 )                                Case No.: C16-5986 EDL
                                                 )
            13             Plaintiff,            )                                Case filed:                  10/17/16
                                                 )                                Trial date:                  12/10/18
            14        v.                         )
                                                 )
            15   SAN RAMON VALLEY UNIFIED SCHOOL )                                PLAINTIFF’S MOTION IN LIMINE NO.
                 DISTRICT,                       )                                1: TO PRECLUDE DEFENDANT’S
            16                                   )                                EXPERT WITNESS FROM TESTIFYING
                                                 )
            17             Defendant.            )                                Pretrial Conf:               10/30/18
                                                 )                                Time:                        2:00pm
            18                                   )                                Location:                    Courtroom E, 15th Floor
                                                 )
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                 Case No.: C16-5986 EDL -- PLAINTIFF’S MOTION IN LIMINE NO. 1: TO PRECLUDE DEFENDANT’S EXPERT WITNESS FROM TESTIFYING
JELIN/
/PMOLIM1-PRECLEXPERT                                                                                                                    1
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             1                                                     I.       MOTION
             2            Plaintiff moves the Court to bar Defendant’s expert witness from testifying in this case on
             3   the grounds that her testimony is inadmissible and/or irrelevant.
             4                                                 II.       ARGUMENT
             5                                                   A.       The Witness
             6            Defendant disclosed one expert, Rhoma Young (Exhibit 1 hereto). Ms. Young is an HR
             7   Consultant. (P. 26 of Jelin Report, Exhibit 1 hereto) She has an MA in Administration and
             8   Management. She has a Certificate in Counseling and Psychology and a Certificate in Conducting
             9   Workplace Investigations. (P. 29 of Jelin Report, Exhibit 1 hereto) She has never interviewed
            10   Ms. Jelin. Ms. Young has reviewed the medical reports, the depositions, and interviewed one
            11   witness. There are no psychology reports. There is no psychological testing.
            12            Ms. Young’s 23 page Report consists of her views of the evidence (cherry-picked and
            13   highlighted), her opinions on Ms. Jelin’s character and credibility, and an opinion that the failure
            14   of the interactive process was Ms. Jelin’s fault. Virtually all of Ms. Young’s testimony should be

            15   excluded as prejudicial. Rule 403.

            16                                               B.         Legal Standards
            17            It is the jury’s function to draw whatever conclusions are to be deduced from the evidence.

            18   Expert opinion testimony is inadmissible if it will not help the trier of fact to understand the

            19   evidence or to determine a fact in the case. Fed. Rules of Evid. 702(a). Expert opinions must be

            20   based on scientific, technical, or other specialized knowledge. Rule 702(a). The testimony must

            21   be based on sufficient facts or data. Rule 702(b). The testimony must be the product of reliable

            22   principles and methods. Rule 702(c) And the expert must have reliably applied the principles and

            23   methods to the facts of the case. Rule 702(d). The probative value of the testimony must

            24   substantially outweigh its prejudicial effect. The Court, in its discretion, may properly exclude

            25   expert opinion testimony where the facts are capable of being understood and evaluated by the

            26   jury without the aid of an expert. Wilson v. Muckala, 303 F.3d 1207, 1219 (10th Cir. 2002); Kotla

            27   v. Regents of the Univ. of California, 115 Cal.App.4th 283, 291-294 (2004).

            28   //

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             1                                                   C.        The Report
             2            Ms. Young gives her opinions on Ms. Jelin’s medical history and credibility at Pages 2-4.
             3   Ms. Young is not qualified to offer these opinions, and the factfinder can evaluate these facts
             4   without her guidance. The summary and opinions are prejudicial and should be excluded on that
             5   ground also. Rules 403, 702.
             6            Ms. Young’s unqualified opinion on these issues is not only unhelpful, but risks unfair
             7   prejudice to Plaintiff, confusion of the issues, and misleading the factfinder. U.S. v. Gonzalez-
             8   Maldonado (1st Cir. 1997) 115. F.3d 9, 15. Expert testimony that does nothing but attack a
             9   witnesses’ credibility encroaches upon the factfinder’s exclusive function to make credibility
            10   determinations; therefore, it does not help the trier of fact as required by Rule 702. U.S. v. Charley
            11   (10th Cir. 1999) 189 F.3d 1251, 1267; Nimely v. City of New York (2nd Cir. 2005) 414 F.3d 381,
            12   398; see, U.S. v. Sine (9th Cir. 2007) 493 F.3d 1021, 1040.

            13            Ms. Young gives her opinions on Defendant’s policies and practices at Pages 4-6. These

            14   opinions are irrelevant and prejudicial. The issue in this case is whether Defendant reasonably

            15   accommodated Ms. Jelin. This is a unique constellation of facts. Ms. Young’s opinions on

            16   generalized policies and practices are not helpful. Her implicit opinions that Ms. Jelin is unhelpful,

            17   untruthful, and illogical are not based on specialized knowledge and are highly prejudicial. There

            18   is no showing, nor can there be, that specialized knowledge informed these opinions. Sine, supra.

            19            Ms. Young’s review of the medical history, at Pages 6-9, is not within her expertise and is

            20   not helpful to the factfinder’s understanding.                   It is actually detrimental to the factfinder’s

            21   understanding since she is undermining the medical expert and questioning Ms. Jelin’s credibility

            22   with her prejudicial commentary on facts and medical reports.

            23            Ms. Young’s discussion of the interactive process, starting at Page 9, combines her legal

            24   opinions with cherry-picked deposition excerpts for the purpose of attacking Ms. Jelin’s

            25   credibility; it should be excluded. U.S. v. Sine, supra. The opinions Ms. Young expresses are not

            26   expert opinions; there is no specialized knowledge informing them. The factfinder can understand

            27   and evaluate the interactive process in this case. Ms. Young’s legal opinions are inadmissible.

            28   RLJCS Enterprises, Inc. v. Prof. Benefit Trust, Etc. (7th Cir. 2007) 487 F.3d 494, 498.

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             1            Ms. Young’s discussion of undue hardship, at Pages 12-13, is pure legal opinion and
             2   unsupported, irrelevant speculation on a non-issue. Defendant has never claimed undue hardship.
             3   Ms. Young proposes to instruct the jury on what they should consider under applicable law.
             4            The same objections apply to Ms. Young’s discussion of “a qualified person with a
             5   disability.” (Page 13) Ms. Young is not qualified on this subject.
             6            In Ms. Young’s discussion of Accommodation, Pages 13-19, she cherry-picks deposition
             7   excerpts to support her legal opinion that Ms. Jelin was accommodated (Page 14) and her actual
             8   determination that Ms. Jelin was responsible for the failure to accommodate, Page 15. The issue
             9   of responsibility for the failure to accommodate is an ultimate issue in the case, and it is a factual
            10   issue well within the capability of the factfinder to evaluate and determine without technical or
            11   specialized assistance.          Ms. Young’s testimony is inappropriate.                   Daubert v. Merrell Dow
            12   Pharmaceuticals, Inc. (1993) 509 U.S. 579, 591; Kumho Tire Company, Ltd. v. Carmichael (1999)
            13   526 U.S. 137, 156; Lauzon v. Senco Products, Inc. (8th Cir. 2001) 270 F.3d 681, 686. Ms. Young’s
            14   discussion of the technology (Pages 15-17) is not within her expertise. It is there solely to defame

            15   Ms. Jelin and question her credibility. It should be excluded. Sine, supra.; Rule 473.

            16            Ms. Young’s discussion of Performance Management (Pages 19-22) is, again, cherry-

            17   picking evidence to undermine Ms. Jelin’s credibility by emphasizing negative statements in

            18   performance evaluations and depositions. 1 The factfinder is capable of evaluating this evidence

            19   without expert opinion.

            20            Ms. Young’s Conclusion (Pages 22-23) does not contain opinions based on her expertise

            21   with the possible exception of the first and second sentences of the final paragraph. Otherwise,

            22   she appears to be quoting Mr. Rogenski and commenting on the medical evidence. The first and

            23   second sentences of the final paragraph are not helpful to the factfinder.

            24            The issues of reasonableness and accommodation history are capable of being evaluated

            25   and understood by the factfinder without the aid of an expert. Plaintiff has never asserted that the

            26

            27
                 1        Much of the deposition testimony throughout is hearsay and/or lacks foundation.
            28            Plaintiff assumes Defendant intends to introduce testimony to lay a proper foundation.

                 Case No.: C16-5986 EDL -- PLAINTIFF’S MOTION IN LIMINE NO. 1: TO PRECLUDE DEFENDANT’S EXPERT WITNESS FROM TESTIFYING
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                              EXHIBIT 1

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Jelin report

To: James Ly

From: Rhoma Young
HR Expert Witness Report
June, 2018

I have extensive background in dealing with and offering expert witness testimony in
situations and cases involving employee disability and health conditions, and have
testified in court over 100 times. Such situations usually involve discussions and
conversations exploring a variety of possible accommodation options to allow an
individual to effectively continue to be employed in their workplace, with or without
accommodation. That process is often referred to as an interactive process. My full
background relevant to this case is outlined in Exhibit 1 to this report. My CV is
attached as Exhibit 2. A rule 26 case list enumerating the cases in which I have
testified or been deposed in the last 4 years is attached as Exhibit 3.

Scope

In looking at a policy, then subsequent practices used in the policy implementation,
several key areas share a common thread that is useful in establishing a framework to
examine and evaluate the effectiveness of the implementation of EEO, accommodation,
interactive process and ways to prevent discrimination, harassment and retaliation in
implementing those policies and practices. In this case, I was asked to look at the
policies/practices of San Ramon Valley Unified School District (SRVUSD), with special
focus on the interactive process and accommodation options, LOA policies and
implementation, communications to discuss accommodation considerations and return
to work (potential RTW) issues dealing with potential disability issues of School
Psychologist Barbara Jelin (BJ). I was also asked to review the District’s policies and
practices on performance management. Exhibit 4 outlines the information I reviewed
during this case to help provide the background for the opinions and analysis in this
report.

Are SRVUSD’s policies and practices consistent with the suggested management
practices (HR basics) or the efforts that you would expect a reasonable employer to
take in complying with relevant laws and regulations, managing employee attendance /
performance, dealing with potential disability/accommodation areas, employee behavior
and in dealing with and preventing discrimination, harassment and retaliation in the
workplace?
    Were SRVUSD’s actual practices (and implementation) reasonable, effective and
       consistent with their own policies?

I am not looking for perfection, nor am I hoping for “best practices”. I am looking at
whether the policies and practices were appropriate and reasonable. As I am not an
attorney, I will not be offering legal opinions nor will I testify as to the ultimate facts.


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SRVUSD has detailed policies/practices covering an array of topics that are at question
in this case. Policy language is comprehensive and detailed. The complaint procedure
is clear and encourages problem resolution. If an employee feels they have been
discriminated against, treated unfairly, bullied or retaliated against there are procedures
to address that. Policies are written in a way that is consistent with suggested
management practices (SMP).

Ms. Jelin has used District and external agency complaint procedures in voicing her
disagreement and complaints. The timespan of her health issues is extensive, dating
back to the 1990’s, which predate her employment in the District. Differing from some
of the medical information, she reported her physical problems have been
continuous/escalating over the last several years. However, current SRVUSD policies
on
     EEO,
     non- discrimination in employment,
     professional standards,
     non-discrimination,
     harassment and bullying,
     employee use of technology,
     ways to address industrial accidents, various LOAs,
     ergonomics and
     uniform complaint procedure
also highlight the unique characteristics of SRVUSD. They provide a context for the
employment and performance of Ms. Jelin and the approaches of SRVUSD’s staff and
management to find ways to assist her to continue her employment with the district.

I reviewed extensive material in this case, including depositions, deposition exhibits,
information from the school district, e-mails, correspondence, meeting summaries and
technology support information. A full list of the material reviewed in this case is
attached as Exhibit 4. For the overall District approach to dealing with the
accommodation process, interactive process and the particulars dealing with Ms. Jelin, I
also interviewed Keith Rogenski, the Assistant Superintendent, with Human Resource
responsibility. Notes from that interview are attached as Exhibit 5. Excerpts from the
deposition of the president of the Union representing Ms. Jelin, Ms. Katzburg are
attached as Exhibit 6. Should additional information become available that would
change or modify my opinions, I may submit an addendum to this report.

Case Background

Ms. Jelin is a psychologist at the San Ramon Valley Unified School District, and has
worked there since 2006. She seems to have encountered physical problems, not only
since she has been there, but even previously.

In a review of the medical records, it indicates that she has musculoskeletal problems
that go back into the early 1990s (before she began to work at the District). Her medical
file indicates that physicians have quoted other, earlier independent medical reports that

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state, “An AME on June 10, 1998 related to her left shoulder pain with radiation to both
arms and the right elbow, also low back pain and left shin pain.”

This information indicates that Ms. Jelin had chronic musculoskeletal problems since
her teenage years. Also included is a statement that says “It is apparent that this
woman has a tremendous psychological overlay” (mentioned in a Stanford report).

Her medical history goes back a long time with records that date back to July 10, 1990.
One medical report indicates that she had right elbow surgery with ulnar nerve
transpositional performed on August 14, 1995. She was seen at Stanford University for
pain management.

Since she has been at the District, health issues appear to be the continuation rather
than the beginning of a long series of complaints about her body. There have been
treatments. She has submitted an ongoing series of work status reports from treating
physician Dr. Lin, that she is variously “partially or totally disabled”. There have been
frequent doctor visits. There have been various medical organizations involved, and
there have been multiple surgeries. There has been physical therapy.

In 2010, a QME Re-Evaluation says that Ms. Jelin, in a medical interview with the doctor
talked about a history of current problems but denied a history of any problems with her
elbows, upper arms, shoulder, low back, headaches, and multiple other problems that
were listed in other medical reports about her pain in her leg, hip and arm. She stated
(during that exam), that while off work she likes to really stay active.

A Medical QME Report from 2010 also cites that this report “is a result of a very
thorough and complete physical examination and tests”. She denied a history and
current problems with her elbows, upper arms, shoulders, low back, headaches and hip
and leg pain. She stated that while off work, she likes to walk, bicycle, surf, snorkel,
scuba, hike and participate in triathlons. It is noted that that description is how she
describes her current activity regimen at the time of the evaluation (in 2010).

These two dramatically different portrayals of Ms. Jelin’s health almost outline the
dichotomy that seems present itself in what she currently experiences and what medical
providers report. There has been a long history of medical treatment.

Since she has been employed at SRVUSD, there has been a long history of
accommodations including technical help and support both in hardware and software,
specialized equipment and dealing with work schedules and assignments. This forms a
work environment and pace that usually allows her to safely and effectively be able to
complete the essential functions of her job.

However, there has also been a series of complaints that Ms. Jelin has alleged since
she joined the organization. She complains and feels that she is now being
discriminated against and harassed by the staff engaged in the interactive process.



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It is this dichotomy that forms the basis for her claims of discrimination and questions
about the efficacy of any aspirational or future accommodation (s).

Opinion

It is my opinion that SRVUSD’s policies and practices are consistent with usual industry
practices and HR management basics in addressing equity in employment, problem
solving, performance and attendance. It is my opinion that SRVUSD implements and
maintains the necessary record keeping to achieve balance and consistency in:

   •   problem resolution,
   •   adequate communication in a back and forth process between the employee and
       employer and
   •   accountability through progressive discipline/corrective action practices,

in fostering equal employment and preventing and responding to concerns of
discrimination, harassment and retaliation. Documentation and discussions of
accommodation efforts and attempts and performance progress are balanced and
detailed. While Ms. Jelin has one view, an entire staff from the District has been
working with Ms. Jelin for years to try “and make things work”. She disagrees with their
efforts and effectiveness in providing adequate accommodations so she can safely and
effectively perform her job.

Technology support has been consistent and ongoing. LOA administration and tracking
appeared to be thorough and administration professionally implemented. It is my
opinion that SRVUSD’s response to various questions/comments/LOA requests, her
ongoing concerns and accommodation requests of Ms. Jelin about the circumstances
surrounding her work, workplace issues and accommodation options were taken
seriously by SRVUSD. She asked for time away for various health and accommodation
issues. She received it.

She made frequent requests and demands for various equipment, software and time
away from work. The organization responded when they had a number of various
District and technical staff attempt problem resolution over several years.

The situation with Ms. Jelin’s health was not a constant. Her medical information
indicates physical problems started way before she began her work with the District. It
seemingly was exacerbated by continuing “injuries” that periodically occurred, further
complicating the situation and expanding, and changing the medical restrictions for
which Ms. Jelin wanted accommodation. She has presented most of her health issues
as being work related and covered by Workers’ Comp protections. However, her last
three health instances (of walking into a door frame, hyperextending her thumb on a
cord when lifting and standing in front of a door to block a 10 year old child attempting to
exit) are unusual and could pose a question of her ability to operate safely in the
workplace.


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The Collective Bargaining Agreement (CBA) outlines a path of corrective action about
holding staff accountable for their performance. Ms. Jelin is subject to that and
protected by a specific outline of how evaluations must be done if there are
performance issues. In one instance, a performance evaluation that was less than
satisfactory was “pulled”, as there needed to be 3 teacher observations if there was
improvement needed, but only 2 had been performed.

The CBA also includes a grievance process, which Ms. Jelin did initially try to use (but
stopped). That process offers an opportunity for decisions, with which an employee
may disagree, to be objectively revisited, reexamined, be changed or modified, if new or
relevant information supports such action. The grievance process can involve layers of
review and provides an objective safety net. This appeal process provides levels and a
neutral forum for the employee to voice his view and concerns or provide any
explanatory information he chooses. This process, which is outlined in the
employee/management agreement at SRVUSD, provides an extra layer of appeal and
problem resolution, so exceeds usual management practices. In dealing with
accountability in performance management and corrective action, my opinion is that
SRVUSD acted within the scope of their CBA and was consistent with their own policies
(which reflect suggested management practice).

SRVUSD has a clear and detailed performance management policy, attendance
tracking and process, which provides and reflects a specific organizational culture and
context in which Ms. Jelin’s attendance issues and accommodation requests were
viewed. It is my understanding, from the information I have reviewed, that time away
requests for verified ADA and FMLA/CFRA protected absences were granted.
Equipment was provided and periodic technical support was part of that, although the
efficacy of that process is challenged by Ms. Jelin.

It is my opinion that the information gathering for events leading to the interactive
process and possible accommodation requests, were made objectively and involved
layers of scrutiny and review. In my opinion, SRVUSD implemented the various
aspects and steps of their interactive process and accommodation policy with
consistency and logic. Consistency is important to ensure employees are not treated
differently due to their membership as a member of a protected group or based on a
relevant health care situation. In that context, the focused, detailed documentation and
commitment to attempts to accommodate Ms. Jelin (see exhibit 8 for a
chronology/sequence that outlines the ongoing, multi-party interactive communication
process) are consistent with SRVUSD’s stated values, policies and suggested
management practices.

The information I reviewed did not provide information, from an HR point of view, to
indicate that Ms. Jelin was treated differently/negatively due to her health status. There
was no unilateral decision maker. Over the years, numbers of staff in different
functional assignments within the District were involved in trying to assist in the
accommodation efforts. It has been my experience (and that of many of my HR
colleagues in the SHRM EEO committee and panels of experts) that the group decision

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making process usually results in better quality decisions and is much less prone to bias
than unilateral decisions.

Ms. Jelin’s Health

If an employee experiences difficulty performing their job due to health issues, one
option is time away from work. When the various LOA policies began to come into play,
there was built in protection for employees who were away from work on a protected
and approved medical status. SRVUSD’s policy has that included criteria. Ms. Jelin
knew of it and used it repeatedly. Another option is to try and accommodate any health
care situation in order to help the employee continue their employment in performing the
essential functions of their job in a safe and effective manner. Ms. Jelin also knew of it
and used it repeatedly

A review of her health over the time of her employment with the District provides an
appropriate landscape in which to view accommodation options for various health
conditions as seen by a series of treating and examining physicians and medical staff.
An early independent medical analysis done in 2010 describes that examination
process, the current/later perceived medical conditions extant with Ms. Jelin, but also
raises significant questions as to the reliability, timeliness and accuracy of her
complaints compared to medically defined health conditions and the possibilities of
remediation and treatment for prevention and treatment. Directly quoting from actual
case records from recognized neutral, medically expert evaluators……

   QME Re-Evaluation: August 24, 2010

   Chief Problem: Bilateral carpal tunnel syndrome due to cumulative trauma.

   “It is now my conclusion that there will probably not be any resolution to this
   situation. As noted under the record review section of this report, I see that other
   physicians have come to the same conclusion. There are numerous very unusual
   features that punctuate this claim. I have served as her QME over nearly two years
   and do not find that anything has been resolved or improved. If anything, there is a
   proliferation of complaints”. – Dr. Leo R. Van Dolson QME, Re-Evaluation letter,
   Evaluation on 08/24/10

   “As expressed by her prior caretakers, it is unlikely that Ms. Jelin will ever find a
   medical resolution to her numerous complaints. One of her prior evaluating
   physicians suspected that she would be seeking medical care for musculoskeletal
   complaints the rest of her life. I would concur with that perspective”. – Dr. Dr. Leo R.
   Van Dolson QME, Re-Evaluation letter, Evaluation on 08/24/10

   … “in Ms. Jelin’s case, there are so many confounding factors that it is really difficult
   to know what is going on. Ms. Jelin historically seems to be a stressed individual.
   The article referenced above points out that there is a high correlation between
   psychological trauma and upper extremity pain complaints”. – Dr. Dr. Leo R. Van
   Dolson QME, Re-Evaluation letter, Evaluation on 08/24/10

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The District engaged in and continued to provide time away from work options with
Leaves of Absence, assistive devices for Ms. Jelin’s use and technology and
environmental support to assist her in performing her job, whether the reported
health conditions were personal or reported to be work related.

Jumping six years forward to another independent medical analysis in 2016, in
which many prior “problems” are defined as “normal”…..

             Medical report dated 12-14-16 by AME Dr. John Devore

“On February 24, 2015, Ms. Jelin had new upper extremity electrodiagnostic studies
done, which showed signs of bilateral carpal tunnel syndrome and compromise of
the ulnar nerve at the left elbow.
Clinical examination shows that Ms. Jelin’s right ulnar nerve remains successfully
anteriorly transposed.
… I cannot appreciate the need for additional treatment for either of Ms. Jelin’s ulnar
nerves.
Ms. Jelin’s elbows function normally.
Clinical examination of Ms. Jelin’s left thumb shows that her left thumb functions
normally.
Ms. Jelin has now undergone bilateral endoscopic carpal tunnel releases. There is
no sign of weakness or atrophy involving the ulnar muscles of either hand. She
demonstrates normal strong opposition with both thumbs. Her carpal tunnel incisions
are well healed. There is no indication for additional carpal tunnel surgery.
Ms. Jelin demonstrates slight loss of dorsiflexion at both wrists. Otherwise, her
hands and wrists function normally. And do not require formal medical treatment.
Her right hip functions normally. She probably has some ongoing right inguinal pain
due to early degenerative arthritis. Currently there is no indication for additional
surgery.
On March 03, 2014, I took x-rays of Ms. Jelin’s left knee in my office, which showed
no abnormality. In late 2012 or early 2013, Ms. Jelin had a left knee MRI scan done,
which showed no abnormality.
Clinical examination of Ms. Jelin’s left knee reveals no sign of impairment. Her left
knee functions normally and requires no medical treatment.
Cursory examination of Ms. Jelin’s left ankle reveals no sign of abnormality. Her left
ankle functions normally and does not require medical treatment.
Cursory examination of Ms. Jelin’s right great toe shows that her dorsal surgical
incision at the MP joint is well healed. … Her right great toe appears to function
normally now.”

      – Dr. Devor QME, Evaluation letter 12/14/16, examination on 12/14/16

   Vocational Status




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“Ms. Jelin should be restricted from very heavy work to minimize problems with her
neck. She requires no work restrictions for her elbows, hands, or wrists. … needs to
be restricted from keyboarding more than three hours per shift intermittently with
other tasks. If Ms. Jelin’s work station has not been ergonomically evaluated within
the past year, to needs to be reevaluated. … provided with a sit/stand workstation.”

       – Dr. Devor QME, Evaluation letter 12/14/16, examination on 12/14/16

“Recommendations

Sit/stand workstation
Voice-activated software
Workstation should be ergonomically evaluated on an annual basis”

       – Dr. Devor QME, Evaluation letter 12/14/16, examination on 12/14/16

This medical information seems to indicate that Ms. Jelin’s health issues have
progressed well, do not seem to need ongoing medical intervention, surgery or
ongoing treatment. Some workplace restrictions remain, but in a continuing refrain,
the District engaged in and continues to provide time away from work options with
Leaves of Absence and assistive devices for Ms. Jelin’s use. Also, continuing
technology and environmental support assist her in performing her job, whether the
reported health conditions were personal or reported to be work related.

In one situation, which illustrates the conundrum facing the District with the differing
views presented by Ms. Jelin, District administrative and technical staff, treating and
independent medical reviews, Ms. Jelin said that she was not being given an
accommodation. She claimed, when she went out on a recent LOA, she was being
retaliated against and punished after she had injured her thumb in the process of
lifting some papers. A sequence of excerpts from the deposition of Ms. Katzburg,
the Union President representing Ms. Jelin provides some perspective on that
situation, which is further information emphasizing/describing the dichotomy in this
case….

Q. Did Ms. Jones state why they were asking Ms. Jelin to take another leave of
absence? A. Because she had reinjured herself. – Katzburg Depo – p 34. 18-20

Q. … Ms. Jones stated that she had to put Ms. Jelin out on leave, did she state it in
a rude manner? A. Not that I recall. Q. Was it professional? A. Yes. – Katzburg Depo
– p 36. 5-9

A. Ms. Jelin was very upset…she felt that she could continue to work. – Katzburg
Depo – p 36. 24-25; p 37. 1

Q. Did she state why she felt she could continue to work? A. Because she had been,
and the problem that Ms. Jelin was going to experience by being out of work is that

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   the workload would continue to compound and the replacement psychologist
   wouldn’t do the job – wouldn’t do the job as Barbara would because she didn’t know
   the students as well. Barbara had developed those relationships already with the
   students. – Katzburg Depo – p 37. 2-10

   A. She (Ms. Jones) explained that she wanted to keep Barbara safe and not further
   injure herself. – Katzburg Depo – p 39. 6-7

   The Witness: Ms. Jones did not state that the 11/6/15 injury occurred because
   accommodations were not in place. She didn’t say that.

   Mr. Ly: Q. Do you have understanding of what the 11/6/2015 injury is? ... A… it was
   caused because Barbara picked up a stack of papers and got her thumb stuck on
   the wire, and she was not supposed to be picking up things that were heavy. I think
   it was caused not because the paper was heavy, but it was caused because of an
   accident. Q. our understanding of the wire getting caught on her thumb is based on
   Ms. Jelin’s testimony to you… – Katzburg Depo – p 40. 14-18; 22-25; p. 41. 1-3

   A … the doctor’s report, there were limitations on how much she could carry, and it
   differed for each of her hands. And one hand, I think, there was hardly any weight
   that she could pick up anything so both of her hands had restrictions. – Katzburg
   Depo – p 41. 11-15

   So with one hand, I remember there was one pound, so hardly anything. I think the
   other one was about five pounds. – Katzburg Depo – p 41. 20-22

   A ... Work restrictions for Barbara said she wasn’t to use her left hand and she
   wasn’t to lift with her left hand and she was to use voice dictation and she was to
   work eight hours per day and she was on temporary disability. – Katzburg Depo – p
   61. 4-8

Ms. Katzburg, of all of the participants in this case, by her very role in the Union
representing Ms. Jelin, would seem to be a neutral. Union staff usually becomes an
advocate for the employee they represent. In other excerpts in Exhibit 6, Ms. Katzburg
talks about her role and her sense of responsibility to advocate for equity and the
wording and spirit of Union Agreement to protect Ms. Jelin.

Interactive process to explore and consider possible accommodations

From an HR perspective, the interactive process means the need for open, ongoing
two-way, good faith, clear communication. It means responsiveness to questions
outlined by the employee and the employer. It is really a partnership and has to involve
ongoing working relationships with both sides.

Often, the process can be informal and not based on, or require specific calendared
meetings with a certain number of people. Most often, it is a series of more casual

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discussions of what is working and what is not. It often involves support help, such as,
in this case, IT staff. It means trying to build success into the interactive process by
keeping it active. It means effectively managing the intersection of workers’
compensation (WC) and medical needs and issues. It means having a sufficiently clear,
defined target, plus communication and accountability about who is going to do what,
and when.

The interactive process usually results from the employer taking the initiative in the
communication and discussion of the decision making process, if the employee has not
clearly articulated the problem and possible solutions. It means consistency between
written policy information and actual practices. It means dealing with clear, accurate
and timely medical information, or getting clarification, if needed, prior to making
decisions. It means treating the individual with dignity and respect. For the interactive
process to work, the employee also needs to treat those staff working with them
courteously and professionally.

Ms. Katzburg, president of the staff (and Ms. Jelin’s) Union talked about one of the key
District figures in implementing the interactive process, Melanie Jones …..

1. Mr. Ly: Q. What is your opinion of HR director Melanie Jones? The Witness: I’ve
   worked a great deal with Melanie Jones. I find Melanie Jones to be extremely
   trustworthy. I have a lot of respect for her because, her and I may differ in opinions,
   but we are always able to talk through things, and when I’ve discussed cases with
   her, I know that she will listen, and if we disagree, we can take things to the next
   step, but there’s no emotional attachment there as far as me feeling any disrespect
   towards, her. I know that we’re both doing our jobs. I think that she’s been a really
   good director for our district. – Katzburg Depo – p 33. 1-11

Implementation is making sure managers (and whomever is representing,
communicating and implementing the policies) know the organization’s policy on equity
and are able to confirm employees understand how the policies affect them. In
conversation with Asst. Superintendent Rogenski (notes in Exhibit 5), he was able to
clearly outline the commitment of the District in trying to get clear information and
cooperation from Ms. Jelin to appropriately assist her to be able to continue to work,
safely and effectively.

Implementation necessitates adequate communication and credible “enforcement” of
the policy. Communication usually means training and making sure all relevant and
decision making employees are adequately involved. In their ongoing commitment to
equity, Mr. Rogenski outlined a recent training on EEO and ADA issues given to all
management staff. Credible enforcement means that the staff and managers charged
with implementing the policy are responsive, knowledgeable, thorough and objective.
Implementation is making sure managers (and whomever is representing,
communicating and implementing the policies) know the organization’s policies and


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clearly and are able to confirm employees understand how the policies affect them.
Deposition testimony from various District staff indicate they were trying to work
constructively (if not always successfully) with Ms. Jelin to help her find ways to
effectively perform her job.

   It’s hard when we are working with Barbara, because she tends to bring in a lot of
   different factors rather than just sticking to the main thing that she’s trying to
   achieve, and I think that gets confusing. – Katzburg Depo – p 20. 2-6

   … do I recall if Shawn Wells was implying that she wanted to get rid of Barbara? No,
   I don’t remember a conversation like that. Q. Based on her actions, did it occur to
   you that Shawn Wells was trying to get rid of Ms. Jelin? ... The Witness: I never felt
   that. – Katzburg Depo – p 70. 19-24; p 71. 1

   Mr. Ly: Q. … did you state that one of the notes state that Ms. Jelin didn’t follow a
   computer directive? A. Yes. … A. So Laurel had directed Barbara not to work with
   people outside of the district. And when the computer malfunctioned and Barbara
   wasn’t able to utilize it, she called somebody else out of the district. – Katzburg Depo
   – p 106. 23-25; p. 107. 1; 6-9

   Mr. Ly: Q. … has anyone ever expressed to you that they just would rather not work
   with Ms. Jelin for any reason whatsoever? … The Witness: Yes. – Katzburg Depo –
   p 104. 15-17; 19

Simple professionalism, responsible keeping of appointments and approaching the
situation with reasonable expectations (on the part of the person seeking
accommodation) is also much more likely to result in an acceptable process of problem
solution. Impatient, demanding, inflexibility seldom characterize a successful interactive
process for either the employee or the employer. For an employee to insist on their own
way, as a sole process, does not work. The employer has an obligation to try and
accommodate, but everyone needs to recognize there are many ways to solve a
problem. It may not be the employee “preferred” option that is always implemented.
Just because an employee has requested one type of an accommodation, does not
mean that it is the only or even most reasonable way for an accommodation to be
made.

Industry standards require the employer and employee to engage in the interactive
process to determine reasonable accommodations. The interactive process is an
ongoing, good faith dialogue – without undue delay or obstruction by either employee or
employer – whereby the employee, health care provider and employer collaborate and
share information about the nature of the disability and the limitations that may affect
the employee’s ability to safely and effectively perform the essential job duties. Many
publications and agency guidelines stress that an employer has to operate in good faith
with the employee. However, there are two sides to this issue in granting reasonable
accommodation for a disability. That also requires that the employee approach the

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situation candidly and honestly, without trying to take advantage of an employer’s
attempts.

Ms. Jelin knew what the working conditions were, what the environment was and what
the job demands would be. If she would / could not perform her schedule or assignment
with students, that may lead to her need to leave the workplace on several occasions
and not complete her scheduled workload. There are legally mandated and required
processes and report formats in dealing with special needs students. This placed a
larger burden on other employees, who had to pick up the responsibilities that normally,
they would have anticipated that Ms. Jelin would have covered in her scheduled work.
This is not a question of costs, but of disruption and impact.

   Did Melanie say “No one else on the planet has these same problems”? A. No. That
   was probably me. Q. Did Melanie tell you that they were “going to deliver her a
   directive tomorrow that she can only have one computer, and that only district
   technicians can work on it and she is not to call anyone else”? A. Yes. – Katzburg
   Depo – p 81. 17-24

The purpose of the interactive dialogue is to determine what (if any) accommodations
may be needed; identify possible accommodation options, and assess the possible and
intended accommodations. Industry standards further require an employer to conduct a
fact-specific, individualized assessment. In this case there was frequent medical
information about the restrictions and, if necessary, time away from work. The ongoing
technical attempts to coordinate the individual and tailored computer equipment and
software involved multiple technical representatives from the district and specific
equipment for Ms. Jelin’s sole use. This interactive process was not just a single
conversation. As described by Mr. Rogenski, the District spent more time and effort in
trying to coordinate the interactive process with Ms. Jelin than all of their other disability
situations combined.

Undue hardship

One aspect that has not previously been discussed, is the salient question of whether or
not, the request/demands for a certain type of accommodation are realistic or may pose
an undue hardship on the District. I am not opining that there was an undue hardship,
but simply pointing out that this is an appropriate area to consider when designing and
defining what is reasonable in an accommodation. That encompasses whether the
accommodation(s) would constitute an undue hardship by fundamentally altering or
disrupting the nature or operation of the job or business.

EEO agency guidelines indicate factors to consider include:
   the overall financial resources of the entity as a whole;
   the overall financial resources of the facility or facilities involved;
   the number of persons employed overall at the facility or facilities involved;
   the number, type and location of the facilities;



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   the type of operation of the entity, including the composition, structure and
     functions of the workforce of the employer;
   the nature and cost of the accommodation needed;
   the impact of the accommodation upon the operation of the facility, including the
     impact on the ability of other employees to perform their duties; and,
   the geographic separateness, administrative or fiscal relationship of the facility or
     facilities.
However, it is not just an economic evaluation.

Another component is how disruptive granting an accommodation might be. If there are
unplanned absences that need to be covered at the last minute, necessary work that
remains uncompleted, reports that are not done in a timely way or communication
becomes tense and heated, that is disruptive to the way in which the business of the
District gets completed. As many of the aspects in dealing with special needs students
are legally mandated, that can create an extra layer of emergency staffing to get things
done with effectiveness, needed documentation, timeliness and safety. Not functioning
effectively, sudden and unplanned time away from work, not keeping up with e-mails
and communications, not attending scheduled meetings and unclear or ignored
communications can add to the disruption.

A qualified person with a disability

This is another aspect to the discussion of reasonableness in accommodation. Is an
employee able to perform the essential functions of the job safely and effectively? This
is a germane area of discussion, given the question of whether or not Ms. Jelin can
safely perform the job without the likelihood that she might reinjure herself. At one point
she was put on LOA after injuring her thumb in the lifting of some papers, as she had
more extreme limitations and the District administration questioned her ability to safely
perform her job. Ms. Jelin vociferously complained about being taken out of the
workplace. She perceived she could continue to safely work. The District staff did not.

Performance and behavior in meeting the performance expectations in how the job is
performed is also a factor in deciding if a person is “qualified” to effectively and safely
perform their job. There were continuing verbal and written performance reminders and
evaluations that more specifically discuss in the performance management section of
this report as in Exhibit 7 (recent performance evaluation).

Accommodation

Accommodation is usually the result of a communication process between the
employee having problems doing their job because of health issues and the employer.
One way to determine if the employer is aware of their basic responsibilities in this area
is to ask for a listing of some of the types of accommodations they have previously
made or are currently being provided. Being careful to honor employee privacy, I
specifically asked for a list (of such sample accommodations) to not disclose employee
names. However, some way to identify employees is necessary in order to verify the

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information, if needed. The District provided such a list. Some of the accommodations
were provided for employees with Worker’s Comp situation and others for non work
related situations. Accommodations covered a broad spectrum of types of
accommodation, ranging from:
     job restructuring,
     LOA,
     Provision of special equipment and devices,
     modification of the job duties,
     physical limitations and restrictions such as lifting and certain kinds of motion and
        movement,
     defined rest periods,
     heat adjustments in the classroom,
     schedule adjustments
This list spans a wide variety of approaches and accommodations designed to help a
broad number of employees to have modifications that have been implemented to allow
or enable employees continue to work. This should provide ample evidence that the
District staff is knowledgeable, flexible and creative in engaging in problem solving to
provide accommodation for disabled employees

One aspect to review in considering accommodation, is needed time away from work.
The purpose of a leave (LOA) as an accommodation is to give the employee time to
become able to perform the essential functions of her position upon return to work, with
or without a reasonable accommodation. The need for leave must be related to the
disability and the leave must be likely to enable to employee to return to work.
Therefore, in assessing a leave request, the employer should determine the specific
purpose of the leave. What will the employee be doing that will enable her to perform
the essential functions of her position with or without another workplace reasonable
accommodation?

Ms. Jelin was granted multiple periods of requested time away from work for her health
reasons. She also took time away from work for other reasons, such as bereavement
and jury duty. The District did not challenge the legitimacy of her medically related
times away from work. They did not question her doctors’ statements, even when
conflicting information was proffered by her physicians. They never mandated a fitness
for duty examination. Most of Ms. Jelin’s requests for time away from work were
described (by her) as job related. As a result, they would be covered under Workers’
Compensation, which provides protections including both medical treatment and
analysis and income supplements. That seemed to be an ongoing pattern over the last
several years. She also received income supplements to help cover the impact of any
lost wages during periods when she was away from work.

Can it work?

Additionally, Ms. Jelin also requested, needed/demanded equipment and work station
set ups to help her function within stated physical limitations. This became another
ongoing situation of obtaining the correct and compatible software and appropriate

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ergonomic and computer software and equipment. The EEOC guidance indicated that
an accommodation should anticipate helping the person be able to perform their job
going forward. It is prospective. If the interactive process is fraught with dissent and
hostility, that is not consistent with the goal of an accommodation.

The information I reviewed indicated that for several years, the District has attempted,
seemingly in good faith, to provide encouragement, equipment, assistive devices and
software to support Ms. Jelin to be able to safely and effectively perform her job. When
the result is constant criticism from one side of the table, that throws the interactive
process out of alignment. Frequent and ongoing accusations and complaints from Ms.
Jelin exacerbated the coordination needed for a successful and reasonable
accommodation. These differences between Ms. Jelin and District staff became a true
saga spreading over years. It raises the question of is there a reasonable way to
accommodate Ms. Jelin that works and is safe and effective?

Technology

A 33 page technical summary complied by Deanna Lashin (IT for the District) details
help provided and requested by Ms. Jelin from August 4, 2016 until May 11. 2017. For a
report to be this detailed (and only cover a 10 month period), it means there were a lot
of requests and a lot of work done by District technology staff focusing on correct and
compatible hardware and software as assistive devices to help Ms. Jelin be able to
effectively and safely perform her job. Ms. Jelin was frequently in disagreement with the
quality, skill and intelligence of the staff and quality, and appropriateness of the
equipment provided.

Things would be adjusted and reportedly operating effectively by the tech. Then, when
the tech left, the equipment was reported not to be working by Ms. Jelin. Remote
“adjustments” could (and were) often made, when Ms. Jelin said she was encountering
difficulties. Ms. Jelin insisted on purchasing her own equipment (to be reimbursed by
the District) and getting in her own consultant, outside the District’s usual contracting
and vendor list.

In her deposition, when asked “what is the problem” ? Excerpts from the Lashin
deposition indicate…..

       Specifically about the headphones I remember feeling very uncomfortable in the
      room at the time. I remember that they were tossed or thrown or there was some
      type of violent action with the headphones. I don’t remember exactly what it was.
      – Lashin Depo p. 17. 11-15

      meeting where I had made an appointment with Barbara to demonstrate the
      issues she was having with the ThinkPad. We had looked at it several times
      before. I wanted to have an opportunity to see what she was doing it from how
      we were testing it to make sure I could resolve her issues. Q. Okay. Were you
      able to resolve the issues? A. I was not – there was no demonstration provided

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at the meeting, even though that was the intent of the meeting; so I wasn’t able to
gather any additional information from it. – Lashin Depo p 22. 6-17

Q. … I realize there have been several that you talked about – Ms. Jelin’s fault,
that she misused the equipment somehow? … The Witness: I couldn’t be sure
what the cause was. – Lashin Depo p 30. 3-6; 8-9

A. So the summary was requested after the initial emails occurred as far as the
updates. – Lashin Depo p 43. 4-5

. … once the newer version of Dragon was purchased and delivered and
installed, then it [MS Office] was changed back to 2016 because that’s the
version that’s compatible with the newer version of Dragon. The H and F drive
was the result of the network issue. I had additionally provided her an adapter
directly connected to the network. If she was experiencing wireless issues, she
could use that as a backup as well. – Lashin Depo p 45. 9-17

A. … corrections were completed at her request over break in response to her
work order 20310. Reverted the office version, which we confirmed there was
licensing for, back to Office 2013 on both the T4E – excuse me – T430 and the
IdeaPad. – Lashin Depo p 46. 18-22

A. … And then moved her H drive documents, which is the individual user share
for each employee, when we refer to H drive. Moved those locally at her request.
So if it inadvertently – if she needed to get those when the network is not
accessible, she would still have access to those…– Lashin Depo p 46. 23-25; p
47. 1-3

A. I mean, traditionally if the site tech wasn’t able to either repair or produce the
issue, they would contact us for assistance, and then, like-minded, if we were
unable to resolve or repair the issue, then we would look for other resources to
resolve it. Q. Have you looked for other resources to resolve the issues? A. I’ve
done personal research on blogs for Nuance. I’ve contacted them, gone through
the setup and installed it and tested it with different equipment for own personal
experience. Q. Do you have an opinion or belief as to why Ms. Jelin continues to
have problems? A. No. Q. Has she suggested a solution? A. I know she’s asked
if we reached out to Nuance a number of times, and we have. – Lashin Depo p
48. 13-25; p 49. 1-4

Q. In your opinion, what is the problem? … The Witness: … I can’t be sure what
the exact issue is. – Lashin Depo p51. 4-7

A…and returned it in working order each time; so. Q. When you returned it in
working order and then there’s an issue, does the issue have to do with what it
was you were working on? A. I couldn’t be sure that was the case all the time. It



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      may have been a related issue, and at times I’d remote it after and, you know,
      check the box or make a quick fix and correct it. – Lashin Depo p 51. 11-20

      A. … it’s technology. – Lashin Depo p 51. 24

      Q. Has anybody suggested just starting over, getting all new equipment and
      installing the current version of Dragon? A. I know that we talked about – and I
      believe we did wiping the – wiping the hard drive of the IdeaPad and reinstalling
      Windows 10 and Nuance new, and, to my recollection, that was done when the
      new version of Dragon came in. – Lashin Depo p 51. 25; p 52. 1-7

      Q. And did the wipe clean reinstall work? A. I mean, to the best of my knowledge,
      it did. – Lashin Depo p 52. 10-11

These processes were driven by frequent and sometimes impatient demands by Ms.
Jelin to get things done the way in which she wanted them done. She wrote a memo to
Ms. Katzburg, her Union president on Nov 6th, 2016, which outlined her continuing
concerns and complaints about the technology process. Some of the points she
mentions are in direct conflict with information provided by District tech staff, (such as
them not loading compatible software and their contacting Nuance software). In 2018,
an outside consultant that Ms. Jelin insisted come in, came on site and conducted an
assessment.

             Source Documents: Barbara Jelin Declaration / Exhibits
________________________________________________________________

   Worksite Ergonomics and Assistive Technology Report 1-28-18

   I met with her to review her current set ups and make recommendations for possible
   improvements.

   Computer Access
   Ms. Jelin has a long history of trying to get the Dragon speech recognition software
   working as a reliable alternative to typing. Despite various upgrades, she continued
   to report persistent errors and difficulty with saving her voice profile. With IT staff
   from the District present at the Live Oak site, I was able to troubleshoot and resolve
   her current difficulties. I also identified that she had not received adequate training in
   the use of this complicated program. – Worksite Ergonomics and Assistive
   Technology Report, (RET) Project, The University Corporation, SF State, Report
   date 01/28/18 by Ray Gott

   I next explored her mouse use.

   I had her try various other options and spent the most time helping her compare the
   Kensington Expert Mouse trackball with the Adesso Smart Cat touchpad mouse,
   paying careful attention to their exact height and angle. She ultimately opted for the

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   touchpad style mouse, placed to the right of the keyboard. I also demonstrated the
   VoiceComputer software add-on to Dragon, … – Worksite Ergonomics and
   Assistive Technology Report, (RET) Project, The University Corporation, SF State,
   Report date 01/28/18 by Ray Gott

   Workstation Ergonomics

   … she experiences less strain in her upper extremities when she is accessing the
   keyboard and mouse at a significant negative tilt – well beyond what her adjustable
   keyboard can provide. Fortunately, she had acquired foam wedges shaped to
   accommodate her keyboard and she found the most relief when we combined this
   with the adjustable keyboards set to its maximum tilt and at the most appropriate
   height.

   Ms. Jelin needs to alternate between sitting and standing .She already has a
   motorized adjustable desk in both offices, which is a great start point.

   Ms. Jelin informed me that she has the same desk, keyboard tray, keyboard, laptop
   rise and 3M copy holder at her second office at the Tasarjara school site…

   Ms. Jelin has been using her personal Jabra Bluetooth microphone for the speech
   recognition and it appears to be working well enough, though she must remember to
   bring it back and forth between the two school sites. – Worksite Ergonomics and
   Assistive Technology Report, (RET) Project, The University Corporation, SF State,
   Report date 01/28/18 by Ray Gott

This information confirms that, while the District had its own internal IT staff that had
worked closely with Ms. Jelin for several years, she insisted on an outside vendor that
did not have a preapproved status with the District. The District agreed to bring this
organization/person in. He worked with the District’s own internal IT staff. He
confirmed Ms. Jelin already had pre-existing assistive equipment, but needed more
training in the Nuance software, He confirmed it was working. The District staff worked
with him to make sure all was properly connected. District staff had previously
confirmed the Nuance software was appropriately connected and working.

Why ongoing technical issues?

Just as Ms. Lashin did not state her opinion about why Ms. Jelin reported there were
many years of continuing computer and equipment glitches immediately after they had
been checked out and found to be operative, no one else has articulated “why” there is
such a continuing saga that seemed to focus almost exclusively on Ms. Jelin’s
experiences. It is apparent that there was ongoing communication and back and forth
dialogue. The District was addressing Ms. Jelin’s concerns, albeit not with the results
she wanted. Ms. Jelin was not being ignored. Dialogue with tech staff,
school/administration staff and the president of Ms. Jelin’s union continued to focus on



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trying to resolve Ms. Jelin’s complaints and concerns, even though Ms. Jelin seldom
expressed satisfaction.

While not meeting Ms. Jelin’s stated standards or desired outcomes, the communication
that characterizes an ongoing interaction between Ms. Jelin and multiple District staff
did occur. There were formal documented meetings, there is and has been ongoing e-
mail communication, there is a detailed summary of technical support issues and there
is a voluminous amount of medical work status reports. The question is not the amount,
frequency and specificity of communication, it is whether it made Ms. Jelin happy.

   … Barbara believes that the district hasn’t done enough to support her with the
   technology because there’s been multiple issues with technology and there’s been
   principals that have demanded excessive work that she can’t fulfill. – Katzburg Depo
   – p 43. 6-10
   The Witness: I believe that they have done a lot to support Barbara with the
   technology. Mr. Ly: Q. What do you mean by “a lot”? A. So they have met with
   Barbara. They have provided Barbara with the software. They have bought Barbara
   a computer to go along with the software. They have sent people to work with her
   and support her throughout this time period so that she can do her job. – Katzburg
   Depo – p 47. 7-14

Performance management

Ms. Jelin complains of harassment and retaliation in her various complaints. She feels
that being given workplace directives and reminders in what is expected from her are
harassing.

Key elements (HR basics) of performance management are that:

   1) The employee has a clear picture of what their job responsibilities are (and what
      the priorities are for the organization). This is captured in the job description for
      a school Psychologist.
   2) If there is a gap between what the expectations are and what the organization is
      receiving from the actual employee’s performance, that gap needs to be
      identified, clearly communicated with the employee. That was done.
   3) The next step is a specific plan, with a reasonable timeframe to measure
      improvement outlined, so that the employee understands what is expected of
      him, what type of timeframe, the level of change or improvement that may be
      needed, and the impact of what they were or were not doing in the workplace or
      in performing their job.
   4) If, after conversations with the employee covering these areas, things do not
      change sufficiently or on a sustained basis, management may need to revert to a
      corrective action or formal “disciplinary” process.
   5) Corrective action is generally incremental, usually beginning with verbal
      conversations, followed by written documentation and a defined plan for
      improvement.


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   6) If there continues to be a problem, a more defined improvement plan with set
      benchmarks may be helpful, as well as a period of time in which that
      improvement is going to be scrutinized and documented. Yardsticks are
      established, improvement is quantified and who is going to be reviewing the
      performance is designated, as well as how that will be done.
   7) If it still continues to be a problem, the consequences of a continued performance
      gap need to be identified and the employee needs to have an understanding that
      their employment may be in jeopardy.

These would be the usual and routine steps taken to monitor employee performance.
Usually, if there are behavioral issues, a gap in performance or if something is a bit
awry, a forthright conversation with an employee can often cure the situation without
any further action being needed. That does not seem to be effective in this case.

The principles of a performance review are based upon giving the employee a clear
understanding of their job responsibilities, and making sure that the employee has the
opportunity, skills and understanding to be able to competently do their job.

Ms. Jelin has received multiple corrective actions steps to help her improve her
performance. Most recently, in her April 25, 2018 performance evaluation, in part, (see
Exhibit 7 for full review) she was told:

          o Barbara does not consistently respond to emails in a timely manner.
          o Barbara has spoken to coworkers and administrators in a disrespectful or
            sarcastic tone. … She also asked for extra paid hours in order to complete
            tasks that are already a part of her job description.
          o Barbara has had difficulty working collaboratively with the SPED team. We
            have provided additional support for the SPED team by having District and
            SRVEA leadership joining team meetings.

      Comments: To move from emerging to proficiency, Barbara can:
        – Respond to emails within 24 hours
        – Communicate and collaborate with IEP teams
        – Be open to differing points of view and engage in respectful dialogue
        – Listen while others are speaking
        – Complete reports in a timely manner

      Developing as a Professional Educator

      Barbara has required extra time to complete reports and has worked with the
      team to decide on an appropriate format to store the reports.
      Comments: This has been an area of concern all year. Barbara has not been
      open to feedback in this area and typically deflects responsibility onto other team
      members.

      To move from emerging to proficiency Barbara can:

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           – Be open to feedback/suggestions regarding professional growth.
           – Manage time efficiently such that professional responsibilities are
             completed within allotted time limits.

      Summary Strengths:

           – Builds rapport with parents at beginning of IEP meeting
           – Students report that Barbara is supportive
           – Maintains confidentiality

      Recommendations:
         – Maintain a professional and sensitive demeanor when supporting families
             during IEP meetings.
         – Work on conflict resolution skills to facilitate teamwork to determine how to
             resolve conflicts and come to agreements.
         – Attend conflict resolution training as determined by district leadership.
   – Barbara will be a collaborative and cooperative member of the special ed team.
   Unsatisfactory Ms. Jelin’s Response ….“I am not in agreement with this
   evaluation. Misleading: and or factually inaccurate information.”

Issues needing improvement and areas where performance is good have been
identified. Ms. Jelin disagrees.

Workload

A component that impacts job performance is the workload. Ms. Jelin has consistently
complained that she has a heavier workload than others in her position. She cites that
an ever increasing workload as retaliation and also the reason she is not meeting
deadlines and getting required parts of her job not completed in a timely way. She says
she has too much to do, cannot get through daily emails and get her reports done. She
said that she has been told not to provide mandated services to students. That is seen
differently by District staff. In their memos to her, they have reminded her about due
dates. Ms. Katzburg addressed the issues of uneven workloads for Ms. Jelin…

   “It’s been challenging. Barbara has many issues beyond, you now, the physical. It’s
   meeting the needs of her assignments. There’s been delays in her reports. And that
   she does send us lengthy emails and discusses the amount of time that she needs
   to do her job, but I would imagine we’ve discussed the fact that the emails
   themselves probably take a lot of time, too. – Katzburg Depo – p 56. 3-9


   Q. … Ms. Jelin’s workload is on average with other school psychologists at the
   district? A. Yes. – Katzburg Depo – p 50. 7-9

   . Ly: Q. …how many assessments Ms. Jelin has to do in a given school year? … A. I
   would estimate that it could be anywhere from 30 to 50. Q. Assessments in a given

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   school year? A. Correct. Q. Is that about average for other school psychologists you
   have represented? Yes. – Katzburg Depo – p 51. 4-5; 10-15

   … Melanie said that in order to receive payment for the hours, you need to ask prior
   to doing the work. …. Melanie said that psychologists in the district all have to do
   work that goes beyond the workday and she couldn’t make a separate allowance for
   Barbara … – Katzburg Depo – p 65. 12-17

   Q. May 5th, 2016 notes. … A. During the time that Barbara was out, the team did not
   expect her to make up those assessments that were assigned during the time she
   was absent. – Katzburg Depo – p 86. 23; p 87. 21-23

   … emails there’s a lot of things that are compounding on this issue in addition to the
   technology. … Barbara comes back to work and attempts to comb thorough emails,
   she won’t be able to do anything else, whether or not her computer is working,
   because there’s so many. – Katzburg Depo – p 91. 5-6; 10-13

   … Melanie is saying to her that’s your job responsibility to get through emails, that
   would be … when she’s working, if somebody is emailing her currently, it’s an
   expectation that we get – as an employee of the district, that we get through those
   emails. Communication is important, so if Barbara is getting information and not
   looking at the emails and not understanding what the next steps are, that could be
   problematic. – Katzburg Depo – p 91. 14-23

   The Witness: I have heard that Barbara has a hard time getting her work done
   because her reports are lengthy. – Katzburg Depo – p 101. 15-17

Conclusion

From the information I have reviewed, the District has made ongoing and repeated
attempts to provide the appropriate tools, equipment, resources and support that Ms.
Jelin has requested, to perform her job safely and effectively. It never seems to be
enough. As outlined by Keith Rogenski, Ms. Jelin is “an ongoing series of complaints,
rather than suggestions”. It just seems to go on and on, and “nothing is ever good
enough or lasts long enough for her to be satisfied”. He said a lot of staff has taken a
lot of staff time and energy to try and meet her requests and needs.

“It is a question of reasonableness. She is not reasonable. She wants to work the
minimum 7-hour day, prescribed in the contract, rather that working until the job is
complete”. The ergonomic equipment that is purchased is “never good enough”. She
“characterizes simple directions received from her principal as being harassment”. She
periodically “fires” her Union rep, who is her actual advocate.” He questions if it can
ever be “OK and work”?

Her medical histories outline different perspectives of what Ms. Jelin seems to
experience healthwise and how she has outlined her prior history. The differences

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present important contrasts. These information contradictions seem mirrored in the
diverse and contrasting medical opinions and examination results of two totally different
independent physician experts that interviewed and examined her. On one hand she
seems in good shape. On the other one, various restrictions are outlined, but then her
frequent work status reports periodically claim that she is “totally to partially disabled”
and not able to work or her range of motion and work is quite restricted. One physician
(Dr. Dolson in 2010) seemed to almost be prophetic in his assessment that Ms. Jelin will
probably “never” resolve her chronic medical situations. He cites the medical prognosis
and history as very unusual.

Then you add the three most recent instances in which Ms. Jelin reported injuring her
self at work by running into a doorway, hyperextending her thumb, and placing herself in
front of a door to stop a 10 year old boy from exiting the room (which was not part of her
job responsibilities or training). At best, these could be described as “‘strange” and not
common to her workplace, and not indicative of any defined workplace hazard, although
they were handled under Workers’ comp.

The District seems to have actively engaged in frequent and ongoing communications
to accommodate Ms. Jelin. That interactive communication is consistent with
suggested management practices. They face an unsolved, conundrum in spite of their
seemingly appropriate efforts. Is it solvable? The steps and sequences in the
interactive process are seldom perfect, but the attempts and actions taken by the
District and the support the District provided meet and in some cases exceed usual
practice in trying to establish a successful exploration of accommodation.




Rhoma Young




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Exhibit 1 RY Professional background


HR Expert Witness Report

RY Professional background relevant to the Jelin matter

Over the last 35+ years in human resources, I have thoroughly examined the Human
Resources (HR) policies and practices of many organizations, evaluated their
effectiveness and make recommendations for change. Human resource and equal
employment practices apply to recruiting, hiring, promotions, discipline, training,
termination and compensation. . . basically all of the areas in how employees are
selected and treated.

My consulting clientele is diverse in size and industry, ranging from Fortune 100
companies to small and mid-sized employers in health care, construction,
manufacturing, retail, trucking, distribution, financial services and high tech. I have
worked with numerous private companies and public entities in looking at policies, the
implementation of those policies, their HR practices, staffing, performance management
issues and problem investigation and resolution. During my career, I also have a rather
extensive background in working organization with a collective bargaining agreement
(CBA, or MOU) in effect. This often brings an additional layer of complexity to a
situation, the communication to resolve issues and decision making process.

I taught Human Resource professionals at San Francisco State University, UC,
Berkeley and Mills College. I have worked as an expert witness in many cases (testified
in court over 100 times) and had to minutely examine the step-by-step HR practices that
are the implementation of HR policies. As part of my human resources consulting, I
also advise organizations on policy content and implementation in a broad array of
Human Resource areas, including case management in dealing with employee health
and potential disability communications and implementation of accommodation issues.

A key area in my consulting practice is the conducting of policy and management
practice audits. A routine part of this audit practice covers Leaves of Absence (LOA),
time away from and return to work policies, the implementation of disability case
management, exploring practical and creative potential accommodations and the
interactive process. I have also advised and provided oversight to performance
management issues and accountability in both union and non-union settings.

Much of my work over the last several years has focused on advising organizations how
to prevent and respond to issues and complaints of discrimination. One of the major
ways in which this prevention is demonstrated, is making sure that an organization has
adequate and clear policies, including a working complaint and problem resolution
mechanism.

Working with clients, I have advised organizations, investigated workplace issues and
helped resolve highly sensitive situations that have involved allegations of
                                                                                         24
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discrimination, harassment and retaliation. The span includes issues of race, age,
ethnic/national origin, gender, gender orientation, religion, disability and health related
issues and other perceived problems of equity in the workplace.

I have researched labor market trends, skill and experience analysis and employment
criteria as part of helping employees and employers define options in accommodation
issues. I have also coordinated periodic functional analyses of both jobs and
employees to determine possible “fit” into prior or alternative jobs.

If additional information becomes available, I will review it and be prepared to respond
or submit an addendum to this report. I charge $495 per hour for research and analysis
and $595 per hour for expert witness testimony. Fees from trial testimony are donated
to the American Cancer Society. I have also co-authored two peer reviewed White
Papers for the Society of Human Resources (SHRM) on prevention of
discrimination/harassment in the workplace and the standards of care in investigation
and resolving employee complaints and workplace problems.




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Exhibit 2 CV


                            RHOMA YOUNG, HR Consultant
                                   Oakland, CA
                                  (510) 530-6746
                                RYAA@earthlink.net
                                    RYAA.com

Professional Experience

RHOMA YOUNG & ASSOCIATES, 1983-present

Managing Principal of successful HR/business consulting firm focusing on practical,
common-sense and cost effective approaches to business and human resource
management issues and problems. Clients range from large, Fortune 50 organizations,
to ground breaking hi tech organiztions, to smaller electronics, bio-tech, distribution,
health care, financial/ professional services, software development, food processing,
construction and manufacturing firms. Clients are public and private companies, not-
for-profit organizations, individuals and local, state and federal governmental
organizations.

      A recognized expert in HR and equal employment, which mandates active
       involvement and familiarity with the many facets of human resource management
       -- employee/labor relations, compensation and benefits, training and
       management development, organizational transition management, strategic
       planning and recruiting. Special projects include designing equity and fairness
       into a broad array of complex issues, such as:
              facilitating definition and resolution of “dicey” performance management
                situations
              disability and accommodation/return to work case management options
                using the interactive process in a wide array of industries
              design of special recruiting and employee selection programs to foster
                inclusion
              comprehensive audits of the design and implementation of HR policies
                and practices
              executive coaching
              workforce restructuring

      Frequently use the hybrid background of being on both sides of the labor
       bargaining table and decades of professional HR experience with public, private
       and not-for-profit employers to testify as an expert witness for both plaintiffs and
       defendants in depositions, arbitrations and in litigation involving discrimination,
       harassment, retaliation, disability and mitigation of damages. This includes
       related HR areas, such as employment background screening, hiring and

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       selection, employee development, workforce planning, investigations, efforts “to
       prevent” and the more generalized aspects of performance management.

      Frequently asked by an organization’s top management and/or Board of Directors
       to act as a "neutral third party"--investigating, analyzing, mediating/negotiating
       and gaining acceptance of, sometimes, creative or non-traditional solutions. This
       is often in very complex, dramatic and high profile situations of percieved unfair
       treatment, overt and covert bias, discrimination, harassment, retaliation and
       performance management situations.

      Conduct one-on-one, intensive “charm school” sessions to help executives and
       managers communicate and manage more effectively and advise their
       management on how to best support needed changes. Also have been sought
       out by organization executives to provide ongoing, one-on-one executive
       coaching.

      Use a broad knowledge and extensive experience with varied industries, career
       areas and labor market analyses to conduct targeted executive search activities,
       assess the viability of individual job search efforts, provide individual and group
       career planning/coaching and customized outplacement. Consult and provide
       expert witness testimony in mitigation of damages, evaluate individual job search
       efforts and research and explore viable options for labor
       market/marketplace/occupational assessments.

      Building on extensive experience in workforce and workplace reorganizations
       and reductions, design highly tailored programs to maximize continuing employee
       commitment and productivity. This covers planning for, communication and
       implementing decisions about who stays and who goes, accompanying legal
       concerns, benefits, outplacement, separation packages, and transition
       counseling/communications. My work deals with the fears and expectations of
       those "left behind", while also focusing on skills needed for future organizational
       needs.

      Taught at University of California, Berkeley, Mills College and San Francisco
       State University, teaching classes in Affirmative Action/EEO, managing employee
       performance/performance appraisal design, workplace investigations, resolving
       employee concerns and defining employee accountability.


BOISE CASCADE CORPORATION (31,000 employees), 1980-1983
Multibillion dollar paper and forest products company with 250 + locations,
headquartered in Boise, Idaho.

Directed corporate-wide division and employee relations staff on Equal Employment
and Affirmative Action Plan and compliance. This included conducting and providing
corporate oversite and direction of over 250 Affirmative Action Plans and Company –

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wide complaint investigation, negotiation and resolution. Designed and implemented
corporate EEO/AA policies and program initiatives to support business strategies aimed
at, often creatively, increasing ethnic, cultural and gender representation and diversity,
including the disabled and expand career options for women in traditionally male
dominated jobs and industries.

GENERAL MOTORS CORPORATION, Fisher Body Division, 1978-1980
28 metal fabrication, trim, hardware, engineering/design and automotive assembly
plants, 90,000 + employees, Detroit, Michigan.

On Division Labor staff, then managed labor relations at the downtown Detroit
Fleetwood (Cadillac) assembly plant, (5,000 plus hourly employees) to negotiate and
get support for, then implement and administer a complex local agreement. The focus
was on reducing a high grievance volume and convince a militant and divisive union
local to recognize, and ultimately participate in and support ambitious mutual
union/management goals for improved quality and profit. This occurred during a period
of major layoffs and stepped up productivity requirements in an increasingly competitive
marketplace.

COUNTY OF LOS ANGELES (83,000 employees), 1964-1978
Fourteen years of progressively responsible experience in personnel, the Chief
Administrative Office and the Probation Department.

As a Probation Officer, investigated and supervised adults and juveniles in custody and
residing in the community. Implemented a more systematic method to objectively
assess and identify feasible options for Superior Court judges in sentencing convicted
felons, including that challenge of whitee collar crimes with hoped for restitution.

Directed a highly effective job placement program to successfully get jobs and employ
ex-offenders in a wide array of industries. Worked closely withbusiness organizations
and labor unions to increase employment retention on inmates released from custody.
Advised Correctional organizations on viable internal and external occupational training
options matched to the actual job market.

In HR, audited County HR practices and then implemented major changes in training,
personnel/HR practices, compensation structure, budget priorities and information
systems. Researched and implemented job share, half and flex-time positions, a
managerial potential assessment center and career development program. Active in
CBA negotiations on both sides of the bargaining table with SEIU and AFSCME.

Education
M.A., Administration and Management, Pepperdine University, Los Angeles




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Graduate work and executive development programs in business management,
supervision, employment, labor-management negotiations and employment/labor law,
and HR policies and practices:
    Wharton School, University of Pennsylvania
    University of Chicago
    UCLA Graduate School of Business Management
    Cornell University, Weinberg Fellow, School of Industrial and Labor Relations
    California Institute of Technology, Industrial Relations Center

Certificate in Counseling and Psychology, University of Southern California
Certificate in Conducting Workplace Investigations, AWI Institute

B.A., History, University of California, Los Angeles

Additional
Was on the business advisory committee to the Board of Directors for privately held, but
rapidly growing Specialty’s Bakery/Café headquartered in San Francisco. Actively
participated in the eventual “liquidity”, when sold to FEMSA.

Continuously active on the Boards of several community and non-profit organizations,
doing strategic planning, Human Resources and fund-raising

Coro Foundation CityFocus participant

Co-authored two extensive, peer reviewed White Papers published by SHRM.
      “Unlawful Workplace Harassment: An Ongoing Employer Challenge”
      “Is there a Standard of Care to Define a Reasonable Harassment Investigation?”

On the editorial Board of the Employment Resource Advisory Institute (ERI)

Certified as Workplace Investigator after completing the intensive Association of
Workplace Investigators Training Institute.

Member/Participant representing the Human Resource field and perspectives on the
Equal Pay Task Force as part of the California Commission on the Status of Women

Professional Affiliations include:
Association of Workplace Investigators (AWI) coordinated the Bay Area Local Circle

Active member of DMEC

Previously active on the national panel of experts for the Society of Human Resource
Management (SHRM) in Diversity and Equal Employment. Longtime member of the
national SHRM Legislative and EEO Committees

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Active in the Northern California Human Resources Association (NCHRA) and was long
time chair of the Legislative Committee

Recipient of the NCHRA Special Service Award

Licensed Private Investigator (California)



       Rhoma Young’s Background on Labor Market Information,
      Occupational Assessment, Career Planning and Mitigation of
                            Damages

Over the last 30+ years in human resources, I have thoroughly examined the Human
Resources policies and practices of many organizations, evaluated their effectiveness
and made recommendations for change. The human resource and equal employment
practices apply to recruiting, hiring, promotions, discipline, training, termination and
compensation . . . basically all of the areas in how employees are selected, treated and
held accountable.

My consulting clientele is diverse in size and industry, ranging from fortune 100
companies, to small and mid-sized employers in health care, construction,
manufacturing, trucking, distribution, sales and marketing, retail, financial services and
high tech, both union and non-union. Clients also include government and nonprofit
organizations.

I taught Human Resource professionals at San Francisco State University and related
classes at UC Berkeley and Mills College in employee accountability through discipline
and termination, improving workplace effectiveness through performance management
and investigating and resolving employee complaints. Over the last 20 years I have
worked as an expert witness in numerous cases and had to minutely examine the step-
by-step implementation of policies and practices, plus assess and analyze, then testify
on mitigation of damage efforts. I have testified in several cases about the mitigation of
damages and possible income loss in employment cases for both plaintiff and defense
and in divorce litigation.

As part of my consulting practice, I also conduct employee recruiting and executive
searches to help employers accurately assess their needs, source applicants, conduct
the employee selection process and negotiate the “closing” process of final
compensation, reference checking, future job content and performance expectations. In
doing Affirmative Action Plans for employers, I also researched skill/occupational, Labor
Market Information, employee compensation and demographic data to define the most
reasonable external “benchmark” which most closely mirrors an employer’s workplace
and employee population.



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I work with organizations that are going through workforce reorganizations and
restructuring that involve hiring, terminating and transferring employees and defining
their current and the organizational skill needs and experience to find out if there is a
match. If there is not a match, I have researched, designed and conducted effective
outplacement programs designed to focus on facilitate and enhance the affected
employees’ reemployment.

I have researched labor market trends, skill and experience analyses and employment
criteria as part of helping employees and employers define options in disability
accommodation issues. I have also coordinated periodic functional analyses of both
jobs and employees to determine possible “fit” into prior or alternative jobs.

As part of that work, I keep current on general labor market issues, trends and
forecasts, as well as actual occupational analyses. I often assist and coach employees
on the most practical and effective way to way conduct a job search, market their skills
and talents.

In mitigation assessments, I am frequently supported by a group of very able associates
to conduct thorough research and keep total project costs manageable. Employment
research often includes individual conversations with industry experts and hiring
managers to get an accurate and practical picture of the current and recent hiring activity.
These conversations usually yield customized and specific circumstances and insights
that might affect career options. Such conversations enhance and expand the usual
LMI research by taking a personalized focus of an individual’s professional, educational
experience and weighing it against hiring manager expectations. Such individualized
mitigation research incorporates another dimension, which are the respective individual’s
actual barriers or assets in their job search. Are they or are not they “hirable” and why?

While vocational testing is usually not as relevant for a person with an established
career and employment background, if such testing would be helpful or needed (such
as a disability situation in which a person cannot return to their former occupational
areas), it can easily be arranged through a properly certified professional.




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Exhibit 3
                 Rule 26 Case List for Rhoma Young 2018



While I have been involved as an expert witness in a broad series of cases
for both plaintiff and defendant, the following situations are those in which I
have been deposed and/or testified as an HR expert in trial/arbitration in
the last four years.

Lassiter v AHS. Defense represented by Andrea Carlise and Hanson
Bridgett. Issues were race and gender discrimination, performance
management, dress, code, quality of investigation and mitigation of
damages/quality of job search. Deposed early 2018.

Moussouris v Microsoft. Defense represented by Jessica Perry. Issues
are gender, quality of investigation, equity in pay and promotion. Rebuttal
HR expert deposed in Spring 2018.

Sarkasian v. USC. Defense represented by Michael Williams at Quinn
Emanuel. Issues are disability discrimination, wrongful termination,
retaliation, performance management, interactive process and
accommodation and investigation. Rebuttal HR expert. Deposed January
2018.

English v. Estes Freight. Defense represented by Poyner and Spruill.
Issues are performance management, wrongful termination, discrimination
on the basis of age and race. Rebuttal HR expert. Deposed August, 2017.

Edwards v. AC Transit. Defense represented by Tammy Brown at Foster
Law. Issues were race, lack of promotion, retaliation, discrimination.
Rebuttal HR expert. Deposed June 2017.

Castillo v Safelite. Plaintiff represented by Jinny Kim of Legal Aid at Work.
Issues are retaliation, harassment, quality of investigation, associated
disability, performance management, failure to prevent, HR policies and
wrongful termination. Deposed May of 2017. Case settled.



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Rotz v. Symetra. Plaintiff represented by Steve Murphy and Ron Spector.
Issues are retaliation, age and gender discrimination, quality of
investigation, policies and performance management. Deposed October,
2016. Case settled.

Sargent v. Cal State Sonoma Defense represented by Durie Tangri.
Issues are retaliation, whistleblower retaliation, constructive discharge,
performance management and quality of investigation. Deposed October,
2016. Testified in trial February 2017.

Teasley v SpaceX. Defense represented by Orrick Herrington and Fox
Rothschild. Issues are gender and disability discrimination, retaliation, the
interactive process, consideration for accommodation, pay administration,
the quality and need for an investigation, performance management and
accountability. Deposed October, 2016. Testified in trial October, 2016.
Defense verdict.

Lannear v Diamond Pet Foods. Plaintiff represented by Bryan McCormack.
Issues were racial harassment, performance management, prevention
efforts and considerations, HR policies and procedures. Deposed June,
2016.

Magdaleno v. Ronpak. Defense represented by Keller Sloan. Issues are
wrongful termination, ethnic origin, race discrimination, harassment, hostile
work environment, performance management and employee and
managerial accountability and the need for and quality of investigation.
Deposed April 2016. Defense verdict.

Smith v. Northrop Grumman. Defense represented by Michael Hoffman.
Issues are disability consideration, the interactive process, LOA, failure to
prevent discrimination and retaliation, alternative job search efforts and
response to other expert witness. Deposed March 2016. Case settled.

Evans v Poms Insurance. Plaintiff represented by Pillsbury Coleman.
Issues are HR policies and practices in benefit coverage when an
employee died while on LOA and insurance coverages transitioned from
one company to another. Deposed March 2016. Case settled.

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Avalos v Redwood Hill Farm. Plaintiff represented by Judy McCann.
Issues are communication in the interactive process, exploration of
accommodation, wrongful termination, failure to prevent and mitigation of
damages. Deposed November 2015 and April, 2016. Case settled.

Mauldin v. ISS/VSS. Defense represented by Barbara Cotter. Issues are
RIF selection process, recall and RTW, race, age, disability, LOA and
RTW, need for and quality of investigation and efforts to prevent
discrimination, harassment and retaliation. Deposed September, 2015.
Testified in Arbitration in November, 2015.

Metzner v. Kaiser. Defense represented by Curley Hessinger. Issues are
disability, LOA, RTW, retaliation, performance management and
accountability, wrongful termination and quality of job search, efforts to
mitigate and recent and projected job market information. Depo September,
2015. Testified in trial November 2015. Plaintiff verdict.

Thompson v. Kirby. Defense represented by David Frye et al, of Lathrop
and Gage. Issues are sexual harassment, sexual assault, efforts to
prevent, retaliation, complaint procedure, independent contractor v.
employee status and usual HR practices, performance management,
accountability and rebuttal to plaintiff HR expert. Deposition August, 2015.
Case settled in January, 2016.

Bustos v. Global plastics. Plaintiff represented by Joe Beccera.
Allegations include disability, use of LOA, FMLA/CFRA coverages, HR
policies and practices, return to work, interactive process and
accommodation, retaliation, RIF processes, performance management and
wrongful termination. Deposed April 2015. Case settled.

Baker v. VSS. Retained by Laura Mc Hugh of Rediger McHugh.
Allegations of race, age, and gender discrimination and harassment,
wrongful termination, investigation, performance management and
prevention of discrimination. Also opined on mitigation of damages.



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Deposed April, 2015. Testified in arbitration, which was concluded in a
defense finding.

Hurley v. California Dept of Parks and Recreation. Retained by Sedgwick
(representing single defendant). Issues are quality of investigation,
reliability of investigation, gender orientation, retaliation, discrimination,
failure to prevent, hostile environment, harassment and performance
management. Deposed February, 2015.

Pao v. Kleiner Perkins. Defense represented by Lynne Hermle, et al at
Orrick. Issues are discrimination, gender, wrongful term, company
response to complaint, quality of investigation, retaliation, failure to prevent,
performance management and broad based HR policies, practices and
procedures. Deposed Feb, 2015. Testified in trial in March 2015. Defense
verdict.

Johnson v Sutter Health. Defense represented by Hanson Bridgett. Issues
were mitigation of damages, quality, scope, depth and reasonableness of
job search efforts, availability of comparable jobs, anticipated period of time
in which to find a job and estimated potential income. Deposed May, 2014.
Case settled.

Maloco v Prometrics. Defense represented by Allen Matkins and plaintiff
by Chris Dolan. Issues included disability accommodation, interactive
process, LOA, performance management, wrongful termination and
retaliation. Deposed early 2014. Case settled.

Tina Brown Pruitt v. Oakland Arena Joint Venture-SMG. Plaintiff
represented by Jocelyn Burton. Issues are policies and practices impacting
wrongful termination, performance management, considerations of
accommodation, the interactive accommodation discussion/process, LOAs,
the organization’s response to employee complaints of discrimination,
retaliation and harassment, failure to prevent discrimination, management
training and quality of the investigation. Deposed January, 2014. Case
settled



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Exhibit 4
                            Jelin v San Ramon Valley USD
                              Documents List – 06/30/18

Depositions                                        #Pages            Approx Date
                                                                     Recd

Grim, Donna                                        52
Jelin, Barbara                                     215
Jelin, Barbara                                     Videotaped CD
Katzburg, Amy                                      109
Krsek, Laurel                                      37
Kwock, Doris                                       45
Larsh-Faraghan, Skye                               29
Lashin, Deanne                                     53
Silva, Angelina                                    31
Utler, Melanie Jones                               119
Wells, Shawn                                       149


Declarations

Utler, Melanie Jones
Jelin, Barbara
Rogers, Richard


Other Documents

2005-2008 Bargaining Agreement between the District and SRVEA
2008-2011 Bargaining Agreement between the District and SRVEA
2012-2015 Bargaining Agreement between the District and SRVEA
2016-2019 Bargaining Agreement between the District and SRVEA
Accommodation listing
Board Policies / Administrative Rules: Complaints Concerning School Personnel
Board Policies / Administrative Rules: Complaints Concerning Discrimination in
Employment
Board Policies / Administrative Rules: Dismissal / Suspension / Disciplinary Action
Board Policies / Administrative Rules: Employee Use of Technology
Board Policies / Administrative Rules: Ergonomics
Board Policies / Administrative Rules: FMLA
Board Policies / Administrative Rules: in District Programs and Activities
Board Policies / Administrative Rules: Industrial Accident / Illness Leave
Board Policies / Administrative Rules: Leave and Vacation

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Board Policies / Administrative Rules: Nondiscrimination / Harassment / Anti-Bullying
Board Policies / Administrative Rules: Nondiscrimination in Employment
Board Policies / Administrative Rules: Professional Standards
Board Policies / Administrative Rules: Reasonable Accommodation
Board Policies / Administrative Rules: Special Education Staff
Board Policies / Administrative Rules: Uniform Complaint Procedures
Certificated Personnel Handbook
Claim for Damages Against Public Entity
Complaint
Computer Reasonable Accommodations Documents
Defendant’s Notice of MSJ; Memo of P&A
Defendant’s Reply to Plaintiff’s Opposition to MSJ
District’s Medical Records – File of Plaintiff
Employee Handbook
EEOC Charge
EEOC Intake Questionnaire
EEOC Guidelines ADA and reasonable Accommodation enforcement guidance
Ergonomic Documents
Job Description: School Psychologist
Plaintiff’s Disclosure of Expert Witness
Interview notes
Plaintiff’s Opposition to MSJ
Response to Interrogatories
School Psychologist Assignment Calendars: 2013-14, 2014-15, 2016-17, 2017-18
Stipulation to Continue Deadline for Expert Disclosures and Discovery
Staff assignment information
Supplemental Response to Interrogatories
Technical Support Summary – Aug 2016; Mar 2017 – Aug 4, 2016 – May 11, 2017
Work Status Reports/Medical reports




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Exhibit 5
Interview with Keith Rogenski in June, 2018

I interviewed Keith Rogenski of the San Ramon Valley Unified School District on June
21, 2018. Given that he was not deposed, I wanted to get some general background on
the School District and an additional perspective on the issues dealing with Ms. Jelin.
Mr. Rogenski appears to be a very qualified and experienced education and HR
professional. He has responsibility for the Human Resources function for the District.
He stated that the District has approximately 3,200 full time equivalent staff (FTE), and
approximately 32,000 students. He has been the HR administrator in the school district
for about the last three years.

He discussed the economy and budget. He said that while they have a very restrained
budget, and are not a “wealthy district”, that that does not stop them from being able to
finance realistic and reasonable assistive devices, equipment and services for
accommodation purposes. They do not have a separate accommodation fund, but he
screens, reviews and will authorize the expenditure of any funds deemed reasonable
and necessary for the purchase of assistive equipment or other resources to enable a
disabled person to work in the District. They have to be very careful in how they spend
their money, as they are accountable to the public, and they have more needs than they
are able to fulfill.

In discussing the supervision of Ms. Jelin, it was described that all of the psychologists
report to the principal of the school in which they are working, as their primary manager,
on a day-to-day basis. Ms. Jelin, he said, could be difficult, because she does not seem
to be satisfied or pleased with what is occurring.

She seems to have an ongoing series of complaints, rather than suggestions. He said a
staff has taken a lot of time and energy to try and meet her requests and needs.

He sees it as a question of reasonableness. Her ongoing complaints do not all fit into
the “reasonable” category. She wants to work a shorter day than may be needed to
perform the job. She characterizes much of the ergonomic equipment that is purchased
is “not working for her”. She seems to feel the guidance and requests received from her
principal as being harassing. Also, Mr. Rogenski went on to talk about how Ms. Jelin
sometimes speaks circuitously and can be hard to follow, which makes trying to work
with her to be exacting (in identifying her actual needs).

He was asked about her grievances, and he said that he knew she had filed four to five
grievances about three years ago, and they were denied by the HR department at the
first step and the Union did not carry them forward.

He said that in October of 2017, she filed a new charge of discrimination based upon
how the previous situation had been handled.



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We discussed the interactive process (IA), and he described himself as being pretty
experienced in having held IA meetings, coached others on holding meetings, worked
with the principals, and has done training. They did a specific ADA training for all
managers, that was mandatory. This was done in November of 2017. They had their
employment lawyer and insurance person come in and participate and also act as
resources in the training. They showed case study examples of types of interactive
meetings that were good and that were not so good. They discussed the differences.

When asked about the impact of Ms. Jelin’s requests on the District, other than
economic, he said that the staff time that has taken to try and meet her demands is very
high. It has increased, because “it does not work” for her . He said that they have given
her more tech help in the period of time he has been there than for any other single
person. The have given her ongoing support.

Her current school principals are very experienced, and they will hold her accountable
for her job assignments and her job performance. Assignments for school psychologists
locations are centralized, and based upon a combination of staff needs and staff
availability. Those decisions are usually made by the Special Ed Department, and they
do give employees an opportunity in January or February of each year, to comment on
their current assignments, or request any changes.

He said that at one point, Ms. Jelin seemed to be having difficulty with her principal with
whom she had worked for a number of years. They offered her a chance to transfer.
She did not take them up on that offer.

Mr. Rogenski said that the organization is very responsive to ADA issues. They do not
always meet every request (in the exact same way) that an employee makes, but they
respond to all issues. They don’t let things sit around without paying attention to them.
He said that sometimes they provide an alternative accommodation to that that has
been the specifically requested by an employee. They try to meet and balance
organizational needs, economic impact, but mostly the effectiveness of working staff
and teachers with the students. He said that that drives everything.

He described his current HR staff as being extremely responsive, willing and committed.
He said that he is so proud of their teamwork, their commitment. They all work together
very, very well. He has a staff of approximately 21 HR people in the organization. He
said that they are skilled, and customer service oriented. They are smart, fun and a
great team.

When describing Ms. Jelin, he said that she does not seem to be able to work on
problem resolution, but ends up in conflict. He said the District has truly tried with staff,
technology, support and ongoing communication. With her, it seems that partnership
aspect of the interactive process is not very working well. She determines what she
wants and asks how she is going to get it. Recently, in the past few weeks, he signed
off on another request for equipment that she wanted to go outside and purchase. He



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said that there were several technical devices at Best Buy, and he signed off on
approving reimbursement for her for her funds.

The efforts of the School District staff do not seem to be sufficient for Ms. Jelin. He said
that it is frustrating, because they try really hard and they really want to have people
with a disability be able to be accommodated so that they can continue to do their work
and work safely and effectively with students. He said that is what this process is all
about. He said that, so far, that does not seem to be working with Ms. Jelin.




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                                        Exhibit 6

                     Jelin V San Ramon Valley School District.

Depo Excerpts – Katzburg Depo – page and line citation. Sorted by specific categories.

OVERVIEW

   1. We have a large district. We have 36 schools. The vice president and myself
      divide the schools… – Katzburg Depo – p 13. 7-8

   2. I think there’s been ongoing issues that have come to the workplace for Barbara,
      so she’s been needing support throughout the time that I’ve known her. Q. Has
      any of your union reps ever complained to you about difficulties in working with
      Ms. Jelin? A. Yes. – Katzburg Depo – p 17. 13-18

   3. It’s been challenging. Barbara has many issues beyond, you now, the physical.
      It’s meeting the needs of her assignments. There’s been delays in her reports.
      And that she does send us lengthy emails and discusses the amount of time that
      she needs to do her job, but I would imagine we’ve discussed the fact that the
      emails themselves probably take a lot of time, too. – Katzburg Depo – p 56. 3-9

   4. A … when we assign our sites their positions for the following year, we want to
      make sure that everybody is taken care of, and I was concerned about Barbara’s
      position and I didn’t want her working at multiple sites. – Katzburg Depo – p 58.
      2-5

WORKLOAD

   1. Mr. Ly: Q. Do you know how long Ms. Jelin was supposed to work in a typical
      workday? A. I’m going to answer this from my own experience. I am a classroom
      teacher. I know that the seven-hour workday is not enough. It’s not enough time
      to do the work that we have to do. And our employees work beyond the seven-
      hour workday in order to fulfill the expectations of their jobs. – Katzburg Depo – p
      26. 22-25; p 27. 1-4

   2. Q. … Ms. Jelin’s workload is on average with other school psychologists at the
      district? A. Yes. – Katzburg Depo – p 50. 7-9

   3. The Witness: … Barbara is that working at a cold if sites has provided a number
      of challenges for her, and in order to reduce the workload, the district really
      wanted to try to keep her at one site, which she was at Bollinger Canyon. And
      that was her only site for, I believe, a year, maybe two years…But many of our
      psychologists do have to work at multiple sites because of the nature of the
      job…We are spread thin. – Katzburg Depo – p 50. 14-23



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  4. Mr. Ly: Q. …how many assessments Ms. Jelin has to do in a given school year?
     … A. I would estimate that it could be anywhere from 30 to 50. Q. Assessments
     in a given school year? A. Correct. Q. Is that about average for other school
     psychologists you have represented? – Katzburg Depo – p 51. 4-5; 10-15

  5. … Melanie said that in order to receive payment for the hours, you need to ask
     prior to doing the work. …. Melanie said that psychologists in the district all have
     to do work that goes beyond the workday and she couldn’t make a separate
     allowance for Barbara … – Katzburg Depo – p 65. 12-17

  6. A … “Barbara is not comfortable with this method as the information includes
     other reports and her understanding is that when she’s assigned to a caseload,
     Melanie said it’s the same expectations for her as with everyone.” – Katzburg
     Depo – p 77. 13-17

  7. Barbara is not comfortable with this method of the collaboration because of the
     information from the other reports. … she would rather do her reports separate
     from the other reports. – Katzburg Depo – p 78. 1-3; 4-6

  8. Melanie said that it’s the expectations for her to work with everyone and to have
     the reports done. Q. Did Shawn say that she would pay for extra hours? … A.
     Yes. – Katzburg Depo – p 78. 8-10; 13

  9. Q. So somebody told you or you concluded “the district is so upset”? A. Melanie
     probably told me that. – Katzburg Depo – p 81. 11-13

  10. Q. May 5th, 2016 notes. … A. During the time that Barbara was out, the team did
      not expect her to make upon those assessments that were assigned during the
      time she was absent. – Katzburg Depo – p 86. 23; p 87. 21-23

  11. … emails there’s a lot of things that are compounding on this issue in addition to
      the technology. … Barbara comes back to work and attempts to comb thorough
      emails, she won’t be able to do anything else, whether or not her computer is
      working, because there’s so many. – Katzburg Depo – p 91. 5-6; 10-13

  12. … Melanie is saying to her that’s your job responsibility to get through emails,
      that would be … when she’s working, if somebody is emailing her currently, it’s
      an expectation that we get – as an employee of the district, that we get through
      those emails Communication is important, so if Barbara is getting information and
      not looking at the emails and not understanding what the next steps are, that
      could be problematic. – Katzburg Depo – p 91. 14-23

  13. The Witness: I have heard that Barbara has a hard time getting her work done
      because her reports are lengthy. – Katzburg Depo – p 101. 15-17

ACCOUNTABILITY

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  1. … when our administrators evaluate our members, they go through a series of
     observations, and we have really clear guidelines on what are the necessary
     steps to take to complete an evaluation. – Katzburg Depo – p 30. 19-22

  2. … she had done an evaluation on Barbara where she marked her off as
     unsatisfactory, and that was just last year; however, she was supposed to have
     three observations in order to arrive to that unsatisfactory marking, and she had
     only done – Shawn had only done two observations. – Katzburg Depo – p 31. 5-
     10

CHALLENGES

  1. It’s hard when we are working with Barbara, because she tends to bring in a lot
     of different factors rather than just sticking to the main thing that she’s trying to
     achieve, and I think that gets confusing. – Katzburg Depo – p 20. 2-6
  2. …it’s really important that we try to support her by reigning her ideas into focus. –
     Katzburg Depo – p 20. 7-8

  3. Q. Has Mr. Spotts ever communicated that Ms. Jelin was unreasonable in her
     demand or her viewpoints or anything along those lines? A. Yes. – Katzburg
     Depo – p 22. 11-14

  4. A … Linda has represented Barbara more than any of us, because she has been
     at that school site, and she’s done a really great job. She said that the difficulty is
     something that I stated earlier, it it’s difficult to keep Barbara focused onto the
     issues at hand. And so, Barbara has been – has expressed many, many issues.
     It’s been a plethora of concerns. So Linda has helped Barbara kind of gather in
     the information so that it’s been easier to understand – Katzburg Depo – p 27.
     11-19

  5. Mr. Ly: Q. … has anyone ever expressed to you that they just would rather not
     work with Ms. Jelin for any reason whatsoever? … The Witness: Yes. – Katzburg
     Depo – p 104. 15-17; 19

  6. A … two weeks ago. A. She was expressing some concerns about one of her
     students and she said that it’s been a really difficult year, it’s been an extremely
     difficult class and the student has a lot of needs. And I asked her if she talked to
     Barbara and she said that she had, but she hadn’t gotten any results that she
     thought were helpful and that it was frustrating for her. Q. Did you have that
     understanding of what she meant by results that were not helpful? A. She said
     that she felt that Barbara was not organized. – Katzburg Depo – p 105. 10; 12-22

  7. Mr. Ly: Q. … did you state that one of the noes state that Ms. Jelin didn’t follow a
     computer directive? A. Yes. … A. So Laurel had directed Barbara not to work
     with people outside of the district. And when the computer malfunctioned and

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       Barbara wasn’t able to utilize it, she called somebody else out of the district. –
       Katzburg Depo – p 106. 23-25; p. 107. 1; 6-9

ROLE

  1. Because I’m the president, I take my duty of representation seriously, and all of
     my members I represent in a variety of capacities. – Katzburg Depo – p 13. 2-4

  2. … When there is a lot of representation for a particular member, what ends up
     happening is that, as members, we try really hard to make sure that we’re there
     to represent, and our role primarily is not to speak on behalf of the member – the
     member does that – but to take a lot of notes. And so, when there’s multiple
     meetings, I Mean, it is time-consuming. Our members are – our reps are happy
     to do it, but it is time-consuming. – Katzburg Depo – p 18. 2-9

  3. Q. … Larry Spotts, you said he was your CTA staff. But did he ever represent
     Ms. Jelin. A. He has. Qu. Do you know what time period he’s represented Ms.
     Jelin? A. He’s been here starting his third year. So throughout that time, he
     supports me in representing members. And when it comes to accommodation, he
     has an expertise on that, so I’ve asked him for some consultation, as well as, I
     believe he has represented her, too with administration. – Katzburg Depo – p 18.
     16-17; p 19. 1

  4. A … he has a knowledge bank that’s quite deep because he’s represented
     thousands of members and he has worked on many, many cases of
     accommodations. – Katzburg Depo – p 19. 4-7

STAFF

  1. Q. … who Shawn Wells is? A. She’s the administrator principal at Bollinger
     Canyon Elementary School. – Katzburg Depo – p 30. 3; 6-7

  2. My opinion of Shawn is that she isn’t the most careful administrator and has
     made errors. – Katzburg Depo – p 30. 11-12

  3. … is that she doesn’t communicate real clearly. – Katzburg Depo – p 30. 15-16

  4. Mr. Ly: Q. What is your opinion of HR director Melanie Jones? The Witness: I’ve
     worked a great deal with Melanie Jones. I find Melanie Jones to be extremely
     trustworthy. I have a lot of respect for her because, her and I may differ in
     opinions, but we are always able to talk through things, and when I’ve discussed
     cases with her, I know that she will listen, and if we disagree, we can take things
     to the next step, but there’s no emotional attachment there as far as me feeling
     any disrespect towards, her. I know that we’re both doing our jobs. I think that
     she’s been a really good director for our district. – Katzburg Depo – p 33. 1-11



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  5. A ... have had multiple discussions with Mrs. Jones … Barbara has brought
     forward a number of concerns that Mrs. Jones has spoken to me about… –
     Katzburg Depo – p 55. 21; 23-25

  6. A … Ms. Jones responded in that she wants to make sure that Barbara has as
     minimal amount of stress as possible. – Katzburg Depo – p58. 12-14

  7. Q. Melanie asked what happed to the original keyboard? … A. … Shawn was
     explaining that she went to Fry’s to pick it up. She was – oh, she said that she
     was ordering a new keyboard for her and Shawn said she would call Fry’s and
     she would go and pick it up herself. – Katzburg Depo – p 600. 19-20; 23-25; p.
     61. 1

  8. A. … do I recall if Shawn Wells was implying that she wanted to get rid of
     Barbara? No, I don’t remember a conversation like that. Q. Based on her actions,
     did it occur to you that Shawn Wells was trying to get rid of Ms. Jelin? ... The
     Witness: I never felt that. – Katzburg Depo – p 70. 19-24; p 71. 1

  9. … “Shawn thanked Barbara for having the assessments done, and there are
     multidisciplinary reports.” Multidisciplinary report is something that involves the
     other special educator’s reports as well. So they work in collaboration. –
     Katzburg Depo – p77. 21-25

  10. Q. Did Melanie say “No one else on the planet has these same problems”? A.
      No. That was probably me. Q. Did Melanie tell you that they were “going to
      deliver her a directive tomorrow that she can only have one computer, and that
      only district technicians can work on it and she is not to call anyone else”? A.
      Yes. – Katzburg Depo – p 81. 17-24

INJURIES & HEALTH

  1. Q. Did Ms. Jones state why they were asking Ms. Jelin to take another leave of
     absence? A. Because she had reinjured herself. – Katzburg Depo – p 34. 18-20

  2. Q. … Ms. Jones stated that she had to put Ms. Jelin out on leave, did she state it
     in a rude manner? A. Not that I recall. Q. Was it professional? A. Yes. – Katzburg
     Depo – p 36. 5-9

  3. A Ms. Jelin was very upset…she felt that she could continue to work. – Katzburg
     Depo – p 36. 24-25; p 37. 1

  4. Q. Did she state why she felt she could continue to work? A. Because she had
     been, and the problem that Ms. Jelin was going to experience by being out of
     work is that the workload would continue to compound and the replacement
     psychologist wouldn’t do the job – wouldn’t do the job as Barbara would because



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     she didn’t know the students as well. Barbara had developed those relationships
     already with the students. – Katzburg Depo – p 37. 2-10

  5. A. She explained that she wanted to keep Barbara safe and not further injure
     herself. – Katzburg Depo – p 39. 6-7

  6. The Witness: Ms. Jones did not state that the 11/6/15 injury occurred because
     accommodations were not in place. She didn’t say that. Mr. Ly: Q. Do you have
     understanding of what the 11/6.2015 injury is? ... A… it was caused because
     Barbara picked up a stack of papers and got her thumb stuck on the wire, and
     she was not supposed to be picking up things that were heavy. I think it was
     caused not because the paper was heavy, but it was caused because of an
     accident. Q. our understanding of the wire getting caught on her thumb is based
     on Ms. Jelin’s testimony to you… – Katzburg Depo – p 40. 14-18; 22-25; p. 41. 1-
     3

  7. A … the doctor’s report, there were limitations on how much she could carry, and
     it differed for each of her hands. And one hand, I think, there was hardly any
     weight that she could pick up anything so both of her hands had restrictions. –
     Katzburg Depo – p 41. 11-15

  8. So with one hand, I remember there was one pound, so hardly anything. I think
     the other one was about five pounds. – Katzburg Depo – p 41. 20-22

  9. A ... Work restrictions for Barbara said she wasn’t to use her left hand and she
     wasn’t to lift with her left hand and she was to use voice dictation and she was to
     work eight hours per day and she was on temporary disability. – Katzburg Depo
     – p 61. 4-8


TECHNOLOGY

  1. A … I wanted to know how long do we fool around with the computer issue,
     because Barbara had been given a directive, hadn’t followed the directive and I
     wanted to find out what was going to happen to her. – Katzburg Depo – p 84 17-
     20

  2. I believe that she was given permission to buy a computer from CJ, so prior to
     Melanie ones, and that she was reimbursed. Or maybe he bought it. Sorry; I
     don’t know. Q. Do you remember that she was reimbursed a year later? A. I think
     it was delayed. – Katzburg Depo – p 86. 9-15

  3. The Witness: … there definitely were complications with the technology. And I
     remember working with Barbara on several occasions where she had difficulties
     with the computers and it was a source of frustration. – Katzburg Depo – p89. 21-
     25

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  4. A … I’ve known Barbara for quite some time and have been involved with her in
     a leader capacity for maybe six, seven, eight years. …my understanding is that
     there were times when the computer was a source of frustrations. – Katzburg
     Depo – p 90. 8-10; 12-14

  5. … Barbara believes that the district hasn’t done enough to support her with the
     technology because there’s been multiple issues with technology and there’s
     been principals that have demanded excessive work that she can’t fulfill. –
     Katzburg Depo – p 43. 6-10

  6. … Barbara has had multiple issues with the technology and has tried to problem
     solve outside of the district. And my understanding is that our server and the
     outside support – or district server and the outside support aren’t communicating,
     so that’s caused further problems, and it could go on and on, but there’s been
     multiple issues with technology. – Katzburg Depo – p 45. 15-21

  7. The Witness: I believe that they have done a lot to support Barbara with the
     technology. Mr. Ly: Q. What do you mean by “a lot”? A. So they have met with
     Barbara. They have provided Barbara with the software. They have bought
     Barbara a computer to go along with the software. They have sent people to
     work with her and support her throughout this time period so that she can do her
     job. – Katzburg Depo – p 47. 7-14


IAP

  1. Mr. Rogers: Q. The next set of notes are dated April 19, 2016, in Exhibit 4. A. Got
     it. … Q. … Barbara met with Melanie and Keith to discuss accommodations. And
     then it says that Barbara met with Shawn, Melanie and Doris to discuss ADA
     transition. – Katzburg Depo – p 71. 2-4; 14-16

  2. A. ... Larry Spotts and I were both representing Barbara, and I asked him if he
     would be willing to represent her because he’s better at the ADA than I am. And
     with the level of complexities, I felt that he – if he was willing to be there, it would
     probably be better. – Katzburg Depo – p 83. 5-9

  3. Q. …. August 12, 2016, I believe. … The Witness: “Keith, I met with Barbara
     Jelin at 1:00 this afternoon to review technology. Shawn Wells and Ann Katzburg
     also attended the meeting.” – Katzburg Depo – p 83. 10-11; p 85. 16-18




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Exhibit 7

School Psychologist Evaluation…Ms. Jelin’s Performance review 2018

Assessment Rubric – Evidence

Barbara’s professional goal was to research and pilot the ChAMP assessment tool.
The purpose was to reduce testing time for students however in her reflection,
Barbara shared that she gave an additional assessment tool which would not have
decreased any testing time.
   Several attendees at IEP meetings have shared with admin team that Barbara’s
   presentation of her reports is difficult to follow and jumps around from section to
   section.

       – Evaluation Rubrics – PILOT – 04/25/18

   Consultation Rubric – Evidence

       o Barbara does not consistently respond to emails in a timely manner.
       o Barbara has spoken to coworkers and administrators in a disrespectful or
         sarcastic tone. … She also asked for extra paid hours in order to complete
         tasks that are already a part of her job description.
       o Barbara has had difficulty working collaboratively with the SPED team. We
         have provided additional support for the SPED team by having District and
         SRVEA leadership joining team meetings.

   Comments: To move from emerging to proficiency, Barbara can:

       –    Respond to emails within 24 hours
       –    Communicate and collaborate with IEP teams
       –    Be open to differing points of view and engage in respectful dialogue
       –    Listen while other are speaking
       –    Complete reports in a timely manner

       – Evaluation Rubrics – PILOT – 04/25/18

   Counseling Rubric – Evidence

   Students report that Barbara is kind and enjoy going to see her.
   She has made herself available on one occasion when one of her counseling
   students was resistant to leave the blacktop

   Comments: Although evaluator has not observed counseling sessions,
   classroom teachers have reported inconsistencies in communication,
   recommendations and practice when working with Barbara.



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   – Evaluation Rubrics – PILOT – 04/25/18

Developing as a Professional Educator Rubric – Evidence

Barbara has required extra time to complete reports and has worked with the
team to decide on an appropriate format to store the reports.

Comments: This has been an area of concern all year. Barbara has not been
open to feedback in this area and typically deflects responsibility onto other team
members.

To move from emerging to proficiency Barbara can:

   – Be open to feedback/suggestions regarding professional growth.
   – Manage time efficiently such that professional responsibilities are
     completed within allotted time limits.

   – Evaluation Rubrics – PILOT – 04/25/18

Summary

Strengths:

   – Builds rapport with parents at beginning of IEP meeting
   – Students report that Barbara is supportive
   – Maintains confidentiality

Recommendations:

   – Maintain a professional and sensitive demeanor when supporting families
     during IEP meetings.
   – Work on conflict resolution skills to facilitate teamwork to determine how to
     resolve conflicts and come to agreements.
   – Attend conflict resolution training as determined by district leadership.
   – Barbara will be a collaborative and cooperative member of the special ed
     team.

   – Evaluation Rubrics – PILOT – 04/25/18

Date of Final Evaluation Meeting: Wednesday, April 25, 2018

Unsatisfactory – Evidence:

   o Barbara has spoken to coworkers and administrators in a disrespectful or
     sarcastic tone.



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   o Barbara has had difficulty working collaboratively with the SPED team. We
     have provided additional support for the SPED team by having District and
     SRVEA leadership joining team meetings.
   o Collaborative reports are not completed in a timely manner, providing
     families with sufficient time to review the report before the IEP meeting…
     However, most families have received their reports 24 hours in advance of
     the meeting.

   – Evaluation Rubrics – PILOT – 04/25/18

Ms. Jelin’s Response to Evaluation Rubrics when signing (dated 04/25/18)

“I am not in agreement with this evaluation. Misleading: and or factually
inaccurate information.” – Evaluation Rubrics / Assessment Rubic PILOT –
04/25/18




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                                        Exhibit 8

                     Jelin V San Ramon Valley School District

                   Chronology/Sequence – AS OF JUNE 24, 2018

This is not designed as an all encompassing, comprehensive document to mention
every incident of importance. Rather, it is designed to portray a sequence of events to
provide a context to view similarities and differences as things change, evolve or stay
the same in the communications between and among staff, the plaintiff, health care
providers and support providers. Items were selected from different sources. There are
some situations where the same incident may be mentioned more than one time, but
viewed from different or conflicting perspectives. That is purposeful. Representative
information about physical/health status reports are included…not all. This was to
outline shifts in restrictions. The yellow highlights point out some key items that can
either echo and confirm each other or stand out in contrast.


Source Documents (dates: highlighted / pages turned down / highlight into the margin):
Personnel/Payroll records (2 different batches); Defendants MSJ/P&A; Complaint;
Declaration Melanie Jones Utler; Barbara Jelin Depo; Barbara Jelin Declaration Exhibits

August 2006         Ms. Jelin hired by San Ramon Valley Unified School District as a
                    School Psychologist. – Complaint p 2. 3
2006                Ms. Jelin’s employment at San Ramon Valley Unified School
                    District as a School Psychologist begins. – Defendant’s MSJ p 1.
                    18-19
2006 – 2009         Ms. Jelin claims she was not assigned a heavy workload. –
                    Defendant’s MSJ p 3. 8-9
11/16/2006          Injury – Bilateral carpal tunnel; bilateral wrists, significant impacted
                    use of palms and fingers. – Jelin Depo p 2. 8-10
November 2006       Ms. Jelin has disabilities in her upper extremities as a result of an
                    industrial injury. – Complaint p 2 4-5
November 2006       Ms. Jelin claims she “has disabilities in her upper extremities as a
                    result of an industrial injury in November, 2006 [sic].” – Defendant’s
                    MSJ p 2. 17-8
2007 – 05/22/18     Ms. Jelin claims that ergonomic set up and the voice dictation
                    program were not accommodated. – Defendant’s MSJ p 5. 2-3
2007                Ms. Jelin argues that the assignment of the heavy workload is
                    motivated by her disability because Joanne Biondi wished her good
                    luck in a laughing tone. – Defendant’s MSJ p 3. 10-12
August 2007         Injury – One wrist bend backward while moving into Cal. – Jelin
                    Depo p 2. 11



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August 2007        Employee states she was diagnosed in August of 2007 and chose
                   to take care of it with her own insurance. – Personnel/Payroll
                   records
2008               Ms. Jelin believes that the District has not been paying her full
                   wages since 2008 and that she is owed more than $127,000 in
                   unpaid wages. – Defendant’s MSJ p 5. 11-12
06/16/2008         Chiropractor QME Letter: “recommended to receive an ergonomic
                   evaluation for each of the four workstations that she is scheduled to
                   be utilizing for the 2008-2009. … performed by a certified
                   ergonomic specialist.” – Personnel/Payroll records
06/18/2008         Company Nurse On Call: Supervisor’s Report of Injury: “For
                   reporting purposes only. Employee states she was diagnosed in
                   August of 2007 and choose [sic] to take care of it with her own
                   insurance. Employee relocating from one school site to another.
                   Employee requested to have an ergonomic evaluation done and
                   was advised se needed to file report with Company Nurse and see
                   a provider.” – Personnel/Payroll records
06/18/2008         CCC Schools Insurance Group Work Evaluation Status: “Additional
                   Restrictions – Mandatory ERGO evalu @ all workstations by
                   certified ERGonist!!; No keyboarding/mousing > 30 min with 5 min
                   stretch break. – Personnel/Payroll records
08/21/2008         Tri-Valley Orthopedic Specialists Work Status Report: “Continue
                   modified duty; Limit lifting / carrying to 5 lbs; Limit repetitive fine
                   manipulation (including keyboard, mouse, etc) to 20 minutes, then
                   off for 5 minutes; No repetitive grasping; No pushing, pulling,
                   overhead work.” – Personnel/Payroll records
Sept 03, 2008      Dr. Burgar: Primary Treating Physician’s Progress Report:
                   “…completed 5 sessions of occupational therapy with resolution of
                   her throbbing pain, however she has developed sensitivity to the
                   ultrasound used in therapy. She [sic] ergo eval has just been
                   completed. – Barbara Jelin Declaration Exhibits
August 24, 2010    Dr. Dolon evaluates Ms. Jelin. – Barbara Jelin Declaration Exhibits
2009 – 2016        Ms. Jelin believes the District discriminated against her by giving
                   her a heavy workload. – Defendant’s MSJ p 14. 2-3
January 16, 2009   CCC Schools Insurance Group: “…we are denying liability for your
                   claim of injury to both of your wrists. Workers’ compensation
                   benefits are being denied because the State appointed Qualified
                   Medical Evaluator, Dr. Van Dolson has advised that your ongoing
                   bilateral wrist and hand complaints were not caused by the specific
                   event occurring on August 7, 2007, but are the result of your
                   underlying pre-existing long-term symptoms in your upper
                   extremities…”– Personnel/Payroll records
May 27, 2010       CCC Schools Insurance Group: “Please be advised that we are
                   accepting your claim for cumulative trauma based on the QME
                   supplemental records by Dr. Van Dolson dated 1/12/10 and
                   3/29/10. …benefits to which you are entitled under the Workers’

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                   Compensation system, as your claim has been accepted.
                   Payments of temporary disability are made based upon a seven
                   day week while you are unable to work because of your injury.” –
                   Personnel/Payroll records
04/15/2011         Injury – I think left ankle. – Jelin Depo p 2. 14
March 01, 2012 Fri Dannenberg email to Jelin “I have received permission from the
                   claims manager, Jacqueline Bailey, to do this review in person or
                   on the phone. If you prefer me to come and meet in person, I can
                   do that. … I will have copies of the other things I emailed to you
                   that we need to go over. Looking forward to our meeting on Friday,
                   March 2, at 3 pm. We should finish by 4 pm. – Personnel/Payroll
                   records
March 02, 2012 Fri Jelin email to Pam Dannenberg “I have the flu and am very tired
                   from not getting enough sleep all week due to wrist pain. I will do
                   my best to make it through the day.” – Personnel/Payroll records
March 19, 2012     Jelin letter to DIR/DWC-Medical Unit: “I am writing to follow up on
                   my phone call today requesting a different QME panel list….they
                   don’t have appointments available until July…I had not heard back
                   from her office…I called your Medical Unit 1-800-794-6900 today
                   on 03/19/12 and was sent around your voice messaging program
                   for over 5 minutes before being asked to leave a message within an
                   unknown voice mail box…I requested a different QME panel list…I
                   would still prefer Dr. Henry and should an appointment become
                   available with her…” – Personnel/Payroll records
08/31/2012         Injury - … bruises and contusions; strain/sprain; exacerbated
                   bilateral wrists and upper extremity injuries; right hip; left
                   knee/ankle rolled out. – Jelin Depo p 2. 15-17
August 31, 2012    Dr. Devor AME Letter 12/14/16: “Ms. Jelin was attacked by a 10-
                   year old child at work. – Barbara Jelin Declaration Exhibits
September 4, 2012 Injury Report Company Nurse “Bruises, contusions, and other blunt
                   injuries. Pain scratches, bleeding stopped / bruising to both arms.
                   Pain to both legs and left ankle. JONMIR Employee states having
                   pain in her neck, right pinky finger is swollen, and pain in left knee
                   and ankle. ‘How did the accident happen?’ Barbara was blocking
                   the door to keep a student from leaving when he grabbed both
                   arms and kicked both legs. ‘Please specify machine, tool,
                   substance or object most closely connected with this accident.’ A
                   student. Caller disconnected before chart pulled up. Call returned
                   and person answering said that pt. held the line and hung up. She
                   went to ask her to come to the line and pt. according to person
                   answering call, states she “is in a meeting” and ‘unavailable.” …
                   CLAJAN Attempted to each caller at supervisors number and got
                   message that this person does not have a voice mail 08/31/2012.
                   NOEMAR attempted to return call at patient’s home and left generic
                   message to return my call. NOEMAR called home number
                   Answering machine reached. Message left. … Employee states

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                   that she had two voice messages left on her phone and is not sure
                   what to do because she is still having knee and ankle pain. …” –
                   Personnel/Payroll records
October 5, 2012    Email from Rick Caldera to Barbara Jelin “It appears that we should
                   meet one more time…”
October 8, 2012    Work Status Muir/Diablo Occupational Medicine “Work Status
                   Regular Work effective 09/24/12 to Recheck. Patient Discharged /
                   Permanente & Stationary. Patient at pre-injury status: NO.
                   Permanent disability expected: YES.” – Personnel/Payroll records
October 8, 2012    Work Status Muir/Diablo Occupational Medicine “Therapy Location:
                   Tice Valley PT and Sports Medicine. Type: PT. Rx: 2 times/week
                   for 3 weeks.” – Personnel/Payroll records
2013 – 2014        Ms. Jelin indicate that Shawn Wells, Donna Grim and Doris Kwok
                   directed her not to provide “legally mandated services” (the
                   designated instructional services a student is qualified to receive as
                   part of their Individual Education Plan (IEP)). – Defendant’s MSJ p
                   6. 4-7
2013 – 2014        Ms. Jelin believes the District assigned her a heavy workload based
                   on her disability based on conversations with Shirley Converse. –
                   Defendant’s MSJ p 3. 14-15
Sept 26, 2013      Email from Cammack to Eggleston/Jelin Re: … “the meeting for
                   September 26, 2013, which was scheduled for you to meet with
                   your Principal, has been cancelled…”
October 4, 2013    Interactive Meeting: Jelin, Venterino, Eggleston, Cammack,
                   Rowley-Thom – SRVUSD Letter 10/15/13
October 13, 2013   Letter Summarizing 10/4/13 Interactive Meeting – SRVUSD Letter
October 18, 2013   Letter from Janis E. Eggleston, Esq: Response to Summary of
                   Interactive Meeting – 10/4/13
12/1/2013          CCC Schools Insurance Group Letter: Date of Injury: 08/01/2007.
                   “If you are represented, and no comprehensive medical evaluation
                   has taken place you may obtain an evaluation by an Agreed
                   Medical Evaluator. If no agreement can be reached, you may be
                   evaluated by a Qualified Medical Evaluator obtained from a panel
                   issued by the DWC Medical Unit.” – Personnel/Payroll records
Dec 3, 2013        SRVUSD Letter to Eggleston Re: Jelin: Requests for
                   Accommodation
Dec 19, 2013       Eggleston Letter to SRVUSD Responding to 12/03/13 Letter Re:
                   Accommodation
2014 – 2016        Alleged motivating reason for allege retaliation: Speaking up for the
                   students not receiving their legally required services; not receiving
                   make up services. – Jelin Depo p 13. 27-28
2014 – 2015        Ms. Jelin indicate that Skye Larsch and Karen Heilbronner directed
                   her not to provide “legally mandated services” (the designated
                   instructional services a student is qualified to receive as part of their
                   Individual Education Plan (IEP)). – Defendant’s MSJ p 6. 8



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January 15, 2014   CCC Schools Insurance: “Payments are ending because you were
                   released to return to work.” – Personnel/Payroll records
January 17, 2014   Dr. Lin’s Disability Certificate / Work Status: “Bilateral pain, upper
                   extremities / Temporary Total Disabled.” – Personnel/Payroll
                   records
January 22, 2014   Dr. Lin’s Disability Certificate / Work Status: “Bilateral wrists and
                   neck injury. Cleared to return to modified work from 01/22/14 to
                   02/22/14.” – Personnel/Payroll records
03/03/2014         Dr. Devor’s AME report (State of California, Division of WC) Notice
                   of Offer of Modified or Alternative Work for Injuries Occurring
                   Between 01/01/04 – 12/31/12 inclusive: Date of Offer/Date Job
                   Starts: 03/03/14 – A specific injury 08/01/07.
                   • “Ms. Jelin has cervical disability that precludes very heavy work
                       and prolonged posturing of the head and neck. She requires no
                       work restrictions for her right elbow.
                   • For her left elbow…prophylactically restricted from work that
                       requires repetitive flexion at the left elbow beyond …
                   • Ms. Jelin should be restricted from prolonged keyboarding…She
                       can still keyboard up to a total of four hours
                       intermittently…restricted from repetitive strenuous gripping and
                       grasping…To minimize problems with her right hip, Ms. Jelin
                       needs to be restricted from repetitive stair climbing, repetitive
                       squatting, and very heavy lifting. As long as Ms. Jelin’s
                       keyboarding can be restricted to four hours per day intermittent
                       with other tasks, and as long as Ms. Jelin can occasionally
                       change position and/or take a break while keyboarding to
                       minimize prolonged posturing of her head and neck, she should
                       still be able to perform her regular duties as a school
                       psychologist with the San Ramon Valley unified School District.
                       Ms. Jelin requires an ergonomically correct workstation and is
                       probably also going to require voice-activate software for her
                       computer work. If her duties cannot be so modified, she will be
                       eligible for supplemental job displacement benefits. Work at
                       home should be minimized because ergonomic factors cannot
                       be controlled at Ms. Jelin’s home.” – Personnel/Payroll records
06/02/2014         CCC Schools Insurance Group Letter to Jelin: “We are in receipt of
                   medical information from Dr. Devor’s AME report dated 03/03/2014
                   that indicates you are medically eligible for vocational rehabilitation
                   benefits.” – Personnel/Payroll records
January 27, 2015   Every alleged act of disability discrimination, failure to engage in
                   the interactive process, failure to provide reasonable
                   accommodation, and retaliation that occurred prior to January 27,
                   2015 is barred by the statute of limitations. Ms. Jelin filed a Charge
                   of Discrimination with the EEOC – year prior is January 27, 2015. –
                   Defendant’s MSJ p 11. 8-12


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2015 – 2016        Ms. Jelin indicate that Shawn Wells, Doris Kwok, Melanie Jones
                   and Cindy Leong-Perez directed her not to provide “legally
                   mandated services” (the designated instructional services a student
                   is qualified to receive as part of their Individual Education Plan
                   (IEP)). – Defendant’s MSJ p 6. 9-10
2015 – 2016        Ms. Jelin claims that Ms. Wells retaliated against her by making
                   slanderous statements about her (Jelin) to the staff, parents, and
                   students. – Defendant’s MSJ p 8. 17-18
2015               Dr. Devor AME Letter 12/14/16: “Ms. Jelin notes that her right great
                   toe has been bothering her for a few years. Finally in 2015, she
                   underwent surgery on her right great toe.” – Barbara Jelin
                   Declaration Exhibits
Spring 2015        Verbally reprimanded for speaking up about safety concerns at an
                   IEP. – Jelin Depo p 14. 20
April 2, 2015      Ms. Jelin’s claims prior to April 2, 2015 are time barred. –
                   Defendant’s MSJ p 10. 1
August 2015        DFEH Charge of Discrimination 01/17/16: Jelin went on medical
                   leave. – Barbara Jelin Declaration Exhibits
Aug 14-26, 2015    Temporary Disability, weekly $1,010.50 based on $1,907.10 weekly
                   earnings, until able to RTW or permanent and stationary. (CCC
                   Schools Insurance Group Letter to Jelin) – Personnel/Payroll
                   records
Sept 21, 2015      Dr. Schwartz Work/Activity Status: RTW with “light/modified
                   duty/activities 09/21-10/29, 2015, Temporarily disabled on
                   09/17/15. Status: Patient could potentially return to light duty
                   modified work on September 21, 2015 with no lifting left hand, no
                   repetitive strenuous gripping, grasping either hand, occasional
                   reaching above shoulder level, voice dictation for reports and
                   emails. Workday limited to 8 hours per day. If light duty modified
                   work is unavailable, patient will need to remain on temporary
                   disability until she is reevaluated in 6 weeks.” – Personnel/Payroll
                   records
Sept 21, 2015      DFEH Charge of Discrimination 01/17/16: Jelin released to return to
                   work on modified duty. – Barbara Jelin Declaration Exhibits
October 2015       Ms. Jelin believes the District engaged in retaliatory acts after she
                   submitted the EEOC charge that was “stamp dated” in October
                   2015, resulting in the November 6, 2015 meeting. – Defendant’s
                   MSJ p 7. 17-18
October 2015       Ms. Jelin claims that Shawn Wells retaliated against her by refusing
                   to assist her in marking her as absent in the computer attendance
                   system. – Defendant’s MSJ p8. 7-8
October 19, 2015   DFEH Charge of Discrimination 01/17/16: Jelin submitted to
                   Respondent further medical documentations outlining my
                   restrictions. – Barbara Jelin Declaration Exhibits




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November 6, 2015 Ms. Jelin admits no one at the meeting stated that they were
                  placing her on leave to retaliate for the submission of the EEOC
                  Form. – Defendant’s MSJ p 7. 20-21
November 6, 2015 Ms. Jelin cites this meeting as an example of disability
                  discrimination against her. She has not provided any documents
                  supporting an EEOC charge submitted with a stamped date of
                  October 2015. – Defendant’s MSJ p 7. 21-24
November 2015     Dr. Devor AME 12/14/16 Letter: “Ms. Jelin sustained a new work-
                  related injury. She picked up a stack of stuff and her left thumb got
                  caught in a power cord. – Barbara Jelin Declaration Exhibits
11/06/2015        Injury – Left thumb. – Jelin Depo p 2. 18
November 6, 2015 Ms. Jelin claims she hyperextended her left thumb due to a power
                  cord wrapping around her thumb as she was picking up documents.
                  – Defendant’s MSJ p 2. 19-20
November 6, 2015 DFEH Charge of Discrimination 01/17/16: Jelin injured on the job. –
                  Barbara Jelin Declaration Exhibits
Prior to 11/13/15 Prior to this meeting with Ms. Jelin, Melanie Jones Utler was
                  informed by her colleague Angelina Silva that Ms. Jelin had injured
                  her thumb. – Jones Utler MSJ p 1. 27-28
Nov 13, 2015      DFEH Charge of Discrimination 01/17/16: Jelin called in for a
                  meeting where told she had to leave work. – Barbara Jelin
                  Declaration Exhibits
Nov 13, 2015      Ms. Jelin claims that due to the hyperextension of her left thumb on
                  November 6, 2015 by a power cord, she was summoned to meet
                  Director of Certificated Personnel Melanie Jones, principal Shawn
                  Wells and former Special Education Program Supervisor Doris
                  Kwok. – Defendant’s MSJ p 13. 3-6
Nov 13, 2015      Meeting: Ms. Jelin, Union Rep Ann Katzburg, Director of
                  Certificated Personnel Melanie Jones (Utler), Principal Shawn
                  Wells and former Special Education Program Supervisor Doris
                  Kwok. – Defendant’s MSJ p 2. 21-24
Nov 13, 2015      Meeting: Ms. Jelin was informed that she would be placed on
                  workers’ compensation leave of absence as there was a concern
                  that she could not safely perform her job and responsibilities with
                  her injury. – Jones Utler MSJ p 2. 1-3
Nov 13, 2015      Ms. Jelin believes that the retaliatory acts were motivated by the
                  submission of the EEOC charge because on November 13, 2015
                  (the date she was placed on leave), she called the EEOC where a
                  representative allegedly stated, “this doesn’t surprise me”. –
                  Defendant’s MSJ p 7. 28; p 8. 1-2
November 2015     Melanie Jones stated the accommodations were not in place and
                  caused the November 2015 injury. The district could not
                  accommodate so “you have to leave”. – Jelin Depo p 8. 23-24
December 2015     Ms. Jones stated that Ms. Jelin was too disabled and too immobile
                  to work and should retire. – Jelin Depo p 8. 25-26
01/02-01/06/16    $721.79 Ed Code Benefits – Personnel/Payroll records

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January 17, 2016  Ms. Jelin claims that she was retaliated against for filing the
                  January 17, 2016 EEOC Charge by not being allowed to return to
                  work, by not being allowed to use her ergonomic set-up from Bob’s
                  Foam (an outside vendor), and by assigning her to two schools with
                  the most difficult administrators. – Defendant’s MSJ p 7. 25-28
January 27, 2016 Ms. Jelin filed a Charge of Discrimination with the EEOC – year
                  prior is January 27, 2015. Every alleged act of disability
                  discrimination, failure to engage in the interactive process, failure to
                  provide reasonable accommodation, and retaliation that occurred
                  prior to January 27, 2015 is barred by the statute of limitations. –
                  Defendant’s MSJ p 11. 8-12
January 27, 2016 EEOC Charge of Discrimination filed. – Complaint p 2. 14
January 27, 2016 Ms. Jelin filed a Charge of Discrimination with the Equal
                  Employment Opportunity Commission (EEOC). – Defendant’s MSJ
                  p 2. 13-14
February 2016     Dr. Devor AME Letter 12/14/16: “she underwent arthroscopic right
                  hip surgery.” – Barbara Jelin Declaration Exhibits
February 12, 2016 Dr. Schwartz Work / Activity Status: “Patient may return to full
                  duty/activities with no restrictions on: February 15, 2016.” –
                  Personnel/Payroll records
March 2, 2016     Interactive Meeting: Jelin, Morrison, Rogenski, Jones – SRVUSD
                  Letter
March 11, 2016    Government claim form filed. – Complaint p 2. 15
March 14, 2016    SRVUSD Letter Summarizing 03/02/16 Interactive Meeting
After 03/11/2016  Ms. Jelin claims she was retaliated against for filing the March 11,
                  2016 Govt. Code §910 form. – Defendant’s MSJ p 6. 28; p 7. 1
Spring 2016       Ms. Jelin believes the District assigned her a heavy workload base
                  on conversations when had with her colleague Amy Scott, who was
                  assigned to assist her in the 2015-2016 school year. – Defendant’s
                  MSJ p 3. 20-22
May 26, 2016      Dr. Schwartz Work/Activity Status: “patient will need to remain off
                  work from 06/09/16 to 06/12/16 for post-operative recovery and
                  rehabilitation. – Personnel/Payroll records
June 13, 2016     Ms. Jelin claims that she was retaliated against for informing the
                  school board that she was directed not to provide mandated
                  services. – Defendant’s MSJ p 7. 11-12
June 2016         Ms. Jelin claims that the District reprimanded her because she was
                  speaking up for the students. She admits that no one stated she
                  was being reprimanded for raising the mandated services issue as
                  the mandated services issue was not discussed during the
                  reprimand. She was reprimanded for an inappropriate comment
                  she made towards a colleague. – Defendant’s MSJ p 6. 22-26
June 12, 2016     Dr. Devor AME Letter 12/14/16: “Ms. Jelin underwent right carpal
                  tunnel surgery. Postoperatively she had physical therapy. –
                  Barbara Jelin Declaration Exhibits



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June 14, 2016     Injury: Dr. Lin Disability Certification / Work Status –
                  Personnel/Payroll records
June 2016         Dr. Devor AME Letter 12/14/16: “Ms. Jelin sustained another new
                  injury. She had just had right carpal tunnel surgery done four days
                  earlier. She was trying to go out the back door of the office at work.
                  .. She does not know what happened, but she ended up hitting her
                  head on the door.” – Barbara Jelin Declaration Exhibits
June 2016         Injury – Concussion/whiplash. – Jelin Depo p 2. 18
August 1, 2016    Ms. Jelin received a right-to-sue letter. – Defendant’s MSJ p 2. 15-
                  16
August 1, 2016    US DOJ Civil Rights Division: Notice of Right to Sue Within 90
                  Days – to Ms. Jelin: “If you choose to commence a civil action,
                  which suit must be filed in the appropriate Court with 90 days of
                  your receipt of this Notice. – Barbara Jelin Declaration Exhibits
August 4, 2016    Email from Melanie Jones to Barbara Jelin: “I would like to request
                  an interactive meeting in regard to you [sic] most recent work
                  status…”
September 2016    Laurel state to not use the Ideapad, programs were not compatible
                  and login was not appropriate. – Jelin Depo p 12. 26-27
Sept 14, 2016     Marilyn Verducci email to Angelina Silva “Could you please confirm
                  that the district is still accommodating Barbara Jelin’s restrictions?
                  … last seen by PTP, Dr. Lin, 9/7/16, continues on modified duty
                  with the following restriction: keyboarding limited to 5 min/hr, no
                  lifting more than 1 lbs right hand. Next appointments: 9/28/16 &
                  10/10/16.” – Personnel/Payroll records
October 4, 2016   Marilyn Verducci email to Angelina Silva “Barbara Jelin was last
                  seen 9/28/16, continues on modified duty with the same
                  restrictions: keyboarding limited to 5 min/hr, no lifting more than 1
                  lbs right hand. Next appointments: 10/18/16 & 10/26/16. Could you
                  please confirm Barbara’s current work status; is the district still
                  willing to accommodate her ongoing restrictions…. ” –
                  Personnel/Payroll Records
Dec 14, 2016      Dr. Devor AME, Letter to Jeffrey Nurik, Esq and Sharon Kelly, Esq:
                  “Ms. Jelin was examined in my Lafayette office. – Barbara Jelin
                  Declaration Exhibits
Dec. 20, 2016     Ideapad was taken. – Jelin Depo p 12. 27
Dec 21, 2016      Dr. Lin letter to Ms. Jelin – Work Status: “The patient will remain
                  temporarily partially disabled at modified work with limitation of no
                  lifting or pushing more than 5 pounds and to avoid repetitive use of
                  both hands … The patient can lift up to 10 pounds with both
                  forearms. It is okay to use voice dictation system to help her at
                  work. I will see Ms. Jelin again in follow-up in month. –
                  Personnel/Payroll Records
January 2017      Ideapad was returned – it was not set up with compatible programs.
                  – Jelin Depo p 12. 28



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Feb 07, 2017       CCC Schools Insurance Group Letter to Angelina Silva Re:
                   Permanent Modified or Alternative Employment Search “We are in
                   receipt of medical information from Dr. John Devor, AME report
                   dated 12/14/16 that indicates that Barbara Jelin is medically eligible
                   for vocational rehabilitation benefits through his/her workers’
                   compensation claim. The disability is described as follows:
                   • Ms. Jelin should be restricted from very heavy work to minimize
                        problems with her neck.
                   • She requires no work restrictions for her elbows, hands and
                        wrists.
                   • For the left cubital tunnel syndrome, she needs to be restricted
                        from work that requires repetitive flexion of the left arm at the
                        elbow beyond 90 degrees or work that requires her to rest her
                        left elbow on some surface.
                   • If Ms. Jelin [sic] work station has not been ergonomically
                        evaluated within the past year, it needs to be re-evaluated. …
                        ergo evaluation on an annual basis. … provided with a Sit/Stand
                        workstation. … continue to require the use of voice activated
                        software. – Personnel/Payroll Records
2017               Ms. Jelin claims she was not assigned a heavy workload. –
                   Defendant’s MSJ p 3. 8-9
April 24, 2017     Dr. Lin Disability Certificate / Work Status: “Bilateral upper
                   extremities and right hip + left knee injury. Temporary Total
                   Disabled from 04/24/17 to 05/24/17.” – Personnel/Payroll Records
May 09, 2017       Dr. Lin Disability Certificate / Work Status: “Bilateral wrist injury.
                   Temporary Partial Disabled from 05/11/17 to 06/11/17. No Lifting,
                   Pushing or Pulling over 5 lbs bilateral hands. Right Hand grasping:
                   never. Avoid Repetitive Motion of Right Hands. Keyboarding limited
                   to 5 min per hour. Capable of lifting up to 10 lbs with bilateral
                   forearm. Voice dictation okay.” – Personnel/Payroll Records
August 02, 2107    Dr. Lin Disability Certificate / Work Status: “Bilateral upper
                   extremities and right hip + left knee injury. Temporary Partial
                   Disabled from 08/02/17 to 08/16/17. … Keyboarding limited 5 mins
                   per hour. Voice dictation at patients own will after no longer
                   tolerating the typing restrictions of 5 mins per hour. Capable of
                   lifting up to 10 lbs with bilateral forearms.” – Personnel/Payroll
                   Records
January 05, 2018   Dr. Lin Disability Certificate / Work Status: “Temporary Partial
                   Disabled from 01/05/18 to 02/05/18.” – Personnel/Payroll records
January 08, 208    Dr. Lin Disability Certificate / Work Status: Temporary Partial
                   Disabled from 01/08/18 to 02/08/18.” – Personnel/Payroll records
May 2, 2018        Dr. Lin Disability Certificate / Work Status: “DOI – 06/14/16.
                   Temporary Partial Disabled from 05/02/18 to 06/02/18. No lifting,
                   Pushing or Pulling over 10 lbs. Right Hand Grasping, Manipulation
                   – Occasional. Pt to work on a 15”or bigger computer screen to work
                   without causing pain on her upper extremities. * Access to thick

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                 writing utensils or handwriting of any length.” – Personnel/Payroll
                 records
Feb 7, 2018      Dr. Lin Disability Certificate / Work Status: “Temporary Partial
                 Disabled from 02/07/18 to 03/07/18” – Personnel/Payroll records




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